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                                                                  AM Supreme Court Middle District

                                                       Filed 12/21/2021 Supreme Court Middle District
                                                                 No. 141 MM 2021



              IN THE SUPREME COURT OF PENNSYLVANIA

CAROL ANN CARTER; MONICA PARRILLA;
REBECCA POYOUROW; WILLIAM TUNG; ROSEANNE
MILAZZO; BURT SIEGEL; SUSAN CASSANELLI; LEE                                No. ______
CASSANELLI; LYNN WACHMAN; MICHAEL                                          ______________
GUTTMAN; MAYA FONKEU; BRADY HILL; MARY
ELLEN BALCHUNIS; TOM DEWALL; STEPHANIE
MCNULTY; and JANET TEMIN,
                   Petitioners,
      v.
VERONICA DEGRAFFENREID, in her official capacity as




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the Acting Secretary of the Commonwealth of Pennsylvania;



                                                          C
                                                       T.
JESSICA MATHIS, in her official capacity as Director for

                                                     KE
the Pennsylvania Bureau of Election Services and Notaries,
                                                    C
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                   Respondents.
                                              AC
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           APPLICATION FOR EXTRAORDINARY RELIEF UNDER
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                  42 PA. C.S. § 726 AND PA. R.A.P. 3309
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                                 INTRODUCTION

      In just a few short weeks, Pennsylvania’s voters, congressional candidates,

and its Department of State need a final and legally binding constitutional

congressional reapportionment plan. But there is no such plan in sight. Last week,

the General Assembly adjourned for the remainder of 2021 without passing a new

constitutional congressional plan and will not reconvene until next year. This delay

means that it is now impossible for Pennsylvania’s political branches to reach

agreement on a congressional plan by the end of December 2021, the time the




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Department of State explained would be necessary for the political branches to have
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enacted a map for the 2022 elections to proceed on time.
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      Nearly eight months ago, anticipating such an impasse, Petitioners filed an
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action in the Commonwealth Court alleging malapportionment in Pennsylvania’s
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current congressional districts and asking the Commonwealth Court to establish a
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schedule so that it could be ready to adopt a new constitutional congressional

reapportionment plan when the political branches inevitably failed to do so. The

Commonwealth Court dismissed that action in early October, finding it premature.

The Commonwealth Court further noted that there was no need to start the

proceedings at that time, because when called upon in prior cycles after the political

branches reached an impasse, the Pennsylvania Supreme Court had repeatedly

adopted new congressional districts for the Commonwealth in very short order.


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      That time has come again. There can be no serious argument at this point that

Petitioners’ request is premature. And given the little time remaining before statutory

filing deadlines, it is incumbent upon this Court to act swiftly and exercise its

extraordinary jurisdiction to expeditiously adopt a constitutional and lawful

congressional plan under which the Commonwealth may proceed with its elections.

      The last time Pennsylvania’s judiciary was required to remedy an impasse

following the decennial census, this Court quickly exercised extraordinary

jurisdiction over the case. See Mellow v. Mitchell, 607 A.2d 204 (Pa. 1992). This




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time, too, there is no question that the issue is of immediate and crucial public
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importance—the new reapportionment plan will affect every Pennsylvania voter and
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every candidate who intends to run to represent the Commonwealth. And
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Petitioners’ rights are unquestionably clear: continued malapportionment would
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violate not only the Pennsylvania Constitution, but also the “[U.S.] Constitution’s
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plain objective of [] equal representation for equal numbers. . . .” Wesberry v.

Sanders, 376 U.S. 1, 18 (1964).

      As this Court has previously recognized, “[w]hen the legislature is unable or

chooses not to act, it becomes the judiciary’s role to ensure a valid districting

scheme.” League of Women Voters of Pa. v. Commonwealth, 181 A.3d 1083, 1086

n.6 (Pa. 2018). That is precisely where we find ourselves today. Petitioners need a

remedy now. Given the short time remaining to adopt a new plan, Petitioners


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respectfully request that this Court swiftly exercise its discretion to take this case

and render its independent judgment on a matter of immediate public importance to

the citizens of the Commonwealth.

                                  BACKGROUND

I.    The Commonwealth Court dismissed Petitioners’ initial Petition on the
      grounds that a political impasse was not yet certain.

      The same day the U.S. Census Bureau publicly released its apportionment

counts in April 2021, Petitioners filed their first petition for review in the




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Commonwealth Court. See Pet. for Review (attached as Exhibit A). There, as here,



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Petitioners explained that Pennsylvania’s congressional districts are now
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unconstitutionally malapportioned because of significant population shifts in the
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past decade, see Ex. A ¶¶ 22-28. Petitioners anticipated that Pennsylvania’s political
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branches would not resolve this malapportionment timely in advance of the 2022
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elections and filed their Petition expeditiously, hoping to give the Commonwealth
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Court adequate opportunity to hear their claims and ample time to adopt a new

congressional apportionment plan for Pennsylvania. At the time, the political

branches had not yet reached an impasse over congressional redistricting, but

Petitioners alleged that such an impasse was highly likely given Pennsylvania’s deep

political divisions and inability to enact a congressional redistricting plan just three

years ago. See id. ¶¶ 7-8. Petitioners asked the Commonwealth Court to (1) declare

Pennsylvania’s current congressional districts unlawful and unconstitutional; (2)

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enjoin Respondents from giving effect to those district boundaries; (3) establish a

schedule that would enable the Court “to adopt and implement a new congressional

district plan by a date certain should the political branches fail to enact such plan by

that time”; and (4) implement a new, constitutional congressional reapportionment

plan if the political branches failed to enact a plan by such a date. See id. at Prayer

for Relief.

      As the case proceeded, the Commonwealth Court permitted Pennsylvania’s

Legislative Leaders to intervene. The Legislative Leaders contested the whole scope




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of the Petition, including Petitioners’ standing, the ripeness of the case, and the
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merits of their claims. The State Respondents also contested the Petitioners’ standing
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and the ripeness of the case—contending that it was not yet clear that an impasse
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would occur—but they agreed with Petitioners that “timely congressional
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redistricting [] is necessary to protect th[e] right to vote” and that “if the political
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branches of Pennsylvania’s government fail to carry out that redistricting, the courts

will be required to step in.” State Resp’ts’ Br. at 1 (Ex. B).

      The State Respondents further explained: “[T]o ensure efficient election

administration, allow for timely notice to candidates, and permit proper

implementation of the new congressional districts, Respondents believe that the

Department of State must receive a final and legally binding congressional district

map no later than January 24, 2022,” and that they believed a new plan “must be


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signed into law by the end of December 2021” to permit adequate time for judicial

review. Id. at 5.

      Ultimately, the Commonwealth Court agreed with the State Respondents and

dismissed the Petition as unripe, holding Petitioners lacked standing. Specifically,

the Commonwealth Court explained (in early October) that there was still “ample

time for the lawmakers to act,” that an impasse was not certain, and thus Petitioners

might never face injury to their voting rights. Order at 10, 15 (Ex. C). The

Commonwealth Court noted, however, that if an impasse did arise, that




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Pennsylvania’s Supreme Court had previously demonstrated “its ability to move
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swiftly to implement remedial congressional districting plans,” citing this Court’s
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resolution of Pennsylvania’s 1990 cycle impasse, as well as its swift implementation
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of remedial congressional plans just three years ago. See id. at 11. Dismissal was
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without prejudice, and the Commonwealth Court explicitly recognized “that there
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may come a time when Petitioners’ claims ripen, and they will have standing to

pursue their claims in the Petition.” Id. at 16 n.1.

II.   It is now clear that Pennsylvania’s political branches will not timely
      pass a new congressional plan.

      After the Pennsylvania General Assembly adjourned for the 2021 legislative

session without passing a new constitutional congressional plan, Petitioners filed a

new Petition in the Commonwealth Court, docketed at No. 464 M.D. 2021. The new

Petition makes similar allegations to those in the first Petition but now explains that

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the political branches indeed have failed to timely enact congressional plans that

would allow Pennsylvania to complete 2022 elections in an orderly fashion. See Pet

¶¶ 5-6, 36-43 (Ex. D).1

        While the Commonwealth Court has entered a scheduling order in the case

(attached as Ex. E), that schedule does not permit sufficient time—let alone any

time—for this Court’s review. Indeed, the Commonwealth Court’s scheduling order

indicates that evidentiary hearings on proposed plans will begin a full week after the

Department of State has said it needs a final map. See Ex. E. The scheduling order




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also already expressly acknowledges that it may push back Pennsylvania’s statutory
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election-related deadlines to accommodate the delay in implementing a new
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congressional plan.
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        Under these circumstances, this Court must act as it has in the past and fulfill
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its duty to ensure that the voters of Pennsylvania have a lawful, constitutional map
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in place for the coming election. It must (1) declare Pennsylvania’s current

congressional districts unlawful and unconstitutional; (2) enjoin Respondents from

giving effect to those district boundaries; and (3) implement a new, constitutional

congressional reapportionment plan. See Ex. D at Prayer for Relief.




1
 The Commonwealth Court subsequently consolidated the new Petition with Gresman v. Degraffenreid, No. 465
M.D. 2021 and designated this case, 464 M.D. 2021, as the lead case.

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                                    ARGUMENT

      Under 42 Pa. C.S. § 726, “[t]his Court may assume, at its discretion, plenary

jurisdiction over a matter of immediate public importance that is pending before

another court of this Commonwealth.” Bd. of Revision of Taxes v. City of Phila., 4

A.3d 610, 620 (Pa. 2010). Just as it has done in the past to resolve redistricting

deadlocks, this Court should exercise its extraordinary jurisdiction to ensure

Pennsylvania has constitutional congressional districts for the 2022 elections. This

Court’s swift intervention is necessary to protect the constitutional rights of millions




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of Pennsylvania voters.
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I.    This case presents an immediate issue of public importance.
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      The Department of State has said it needs to have a final, legally binding
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congressional reapportionment plan in less than 35 days so that it can stand ready to
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timely conduct Pennsylvania’s congressional primary and general elections in 2022.
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See Ex. B. at 5. But there is no such plan today, and time is running out.

      Extraordinary jurisdiction is particularly appropriate where (1) Petitioners’

rights are clear and (2) the ordinary litigation process is insufficient to timely remedy

Petitioners’ rights. Bd. of Revision, 4 A.3d at 620. Both factors are plainly met here.

      First, Petitioners’ legal rights are clear; there can be no dispute that

continuation of the status quo is unconstitutional. Article I, Section 2 of the United

States Constitution requires congressional districts to be as equivalent in population


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as possible “to prevent debasement of voting power and diminution of access to

elected representatives.” Kirkpatrick v. Preisler, 394 U.S. 526, 531 (1969). This

constitutional mandate is commonly referred to as the “one person, one vote

principle.” Gray v. Sanders, 372 U.S. 368, 381 (1963). The 2020 Census data makes

clear that the configuration of Pennsylvania’s congressional districts does not

account for the current population numbers in the state, violating the “Constitution’s

plain objective of [] equal representation for equal numbers.” Wesberry, 376 U.S. at

18; see also Arrington v. Elections Bd., 173 F. Supp. 2d 856, 860 (E.D. Wis. 2001)




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(three-judge panel) (“[A]pportionment schemes become ‘instantly unconstitutional’
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upon the release of new decennial census data.” (citation omitted)). Pennsylvania’s
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current congressional districts are thus unconstitutionally malapportioned, and any
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future use of those districts would violate Petitioners’ rights. Separately, because
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Pennsylvania has been allocated one fewer congressional district than it was in the
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prior decade, any future use of Pennsylvania’s current congressional districts would

also violate 2 U.S.C. § 2c. See Ex. D ¶¶ 31-35.

      Second, this is a case in which the “ordinary” or “normal” litigation process

will be insufficient to timely remedy Petitioners’ rights. In exercising its discretion

regarding extraordinary jurisdiction, this Court considers the immediacy of the issue

raised, Bd. of Revision, 4 A.3d at 620—that is, whether there is some intervening

need to expedite the proceeding and truncate the normal judicial process, see


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Commonwealth v. Morris, 771 A.2d 721, 731 (Pa. 2001). This is such a case. Under

the Commonwealth Court’s schedule, no decision will issue until at least a week

after the Department of State’s January 24 deadline for a final map. And even if the

Commonwealth Court finalized its own congressional plan by February 1, the first

day after it holds an evidentiary hearing on the parties’ proposed plans, there is no

guarantee Petitioners could seek review from this Court in time for the 2022

elections. A case that will determine Pennsylvania’s congressional reapportionment

plan for the next decade is far too important to evade this Court’s review. At best,




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review by this Court after the Commonwealth Court would likely require pushing
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back Pennsylvania’s statutory deadlines for the 2022 elections, something the Court
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should only do as a last resort.
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      This Court’s extraordinary jurisdiction powers, which give the Court “broad
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authority to craft meaningful remedies,” was made for a case just like this one.
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League of Women Voters of Pa., 181 A.3d at 1086 n.6. As this Court has already

recognized, “[s]wift resolution” of matters such as these is essential to “promote

confidence in the authority and integrity of [this Commonwealth’s] institutions.” Bd.

of Revision, 4 A.3d at 620.

II.   This Court previously exercised its extraordinary jurisdiction to
      implement new reapportionment plans.

      In asking this Court to exercise extraordinary jurisdiction over this action,

Petitioners are not asking this Court to do something it has not done before. The last

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time Pennsylvania’s judiciary was required to remedy an impasse following the

decennial census, this Court exercised extraordinary jurisdiction over the case to

ensure Pennsylvania would have a constitutional reapportionment plan for the 1990

redistricting cycle. See Mellow, 607 A.2d at 204.

      In Mellow, just as in this case, the Petitioners initially filed their case in the

Commonwealth Court. Almost immediately after filing that Petition, the Mellow

Petitioners sought plenary jurisdiction from this Court, and this Court accepted

jurisdiction promptly. Id. at 206.




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      Similarly, just three years ago, in League of Women Voters of Pa. v.
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Commonwealth, this Court exercised its extraordinary jurisdiction powers to ensure
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Pennsylvania would have constitutional congressional plans for the 2018 election
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cycle. See 181 A.3d 1083 (Pa. 2018). After this Court found Pennsylvania’s existing
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reapportionment plan to be an unconstitutional partisan gerrymander, it gave
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Pennsylvania’s political branches an opportunity to remedy those plans. When they

failed to do so, this Court moved to implement its own reapportionment plan,

explaining: “[I]t has become the judiciary’s duty to fashion an appropriate remedial

districting plan, and this Court has proceeded to prepare such a plan, a role which

our Court has full constitutional authority and responsibility to assume.” Id. at 1086.

The Court should do the same here. The Commonwealth cannot wait any longer for

a new congressional reapportionment plan.


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                                   CONCLUSION

      For these reasons, Petitioners respectfully request this Court exercise its

extraordinary jurisdiction over this matter and implement proceedings to ensure

timely resolution of this case before the 2022 congressional elections.

      To that end, Petitioners propose the following schedule, which would allow

the Court to render a decision by January 24, 2022:

                  Event                                         Date

 Joinders or Interventions                   December 27, 2021




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 Answers to Intervention                     January 3, 2021
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 Parties’ Proposed Congressional Plans January 10, 2022
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 and Briefs in Support
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 Parties’ Opposition Briefs                  January 17, 2022
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 Oral Argument                               January 21, 2022
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 Court’s Decision                            January 24, 2022
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Dated: December 21, 2021                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE
      I hereby certify that on the date set forth below, I caused the foregoing

Application for Extraordinary Relief be served upon the following parties by first

class mail, which service satisfies the requirements of Pa. R.A.P. 3309 and 121:

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                                            AC



                   Acting Secretary Veronica Degraffenreid
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                   Kathleen Kotula
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                   Acting Secretary Veronica Degraffenreid
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Dated:    December 21, 2021

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                    Exhibit A




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Perkins Coie LLP                                    C
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       IN THE COMMONWEALTH COURT OF PENNSYLVANIA
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CAROL ANN CARTER; MONICA PARRILLA;
REBECCA POYOUROW; WILLIAM TUNG; ROSEANNE
MILAZZO; BURT SIEGEL; SUSAN CASSANELLI; LEE                                No.
CASSANELLI; LYNN WACHMAN; MICHAEL                                          ______________
GUTTMAN; MAYA FONKEU; BRADY HILL; MARY
ELLEN BALCHUNIS; TOM DEWALL; STEPHANIE
MCNULTY; and JANET TEMIN,
                   Petitioners,
      v.
VERONICA DEGRAFFENREID, in her official capacity as
the Acting Secretary of the Commonwealth of Pennsylvania;
JESSICA MATHIS, in her official capacity as Director for
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the Pennsylvania Bureau of Election Services and Notaries,
                   Respondents.


                    PETITION FOR REVIEW
       ADDRESSED TO THE COURT’S ORIGINAL JURISDICTION

                                  INTRODUCTION

      1.    This is an action challenging Pennsylvania’s current congressional

district map, which has been rendered unconstitutionally malapportioned by a

decade of population shifts. Petitioners ask this Court to declare Pennsylvania’s




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current congressional district plan unconstitutional; enjoin Respondents from using



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the current plan in any future elections; and implement a new congressional district
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plan that adheres to the constitutional requirement of one-person, one-vote should
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the General Assembly and Governor fail to do so.
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      2.    On April 26, 2021, the U.S. Secretary of Commerce delivered the
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apportionment data obtained by the 2020 Census to the President. Those data
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confirm the inevitable reality that population shifts that occurred during the last

decade have rendered Pennsylvania’s congressional plan unconstitutionally

malapportioned. See Arrington v. Elections Bd., 173 F. Supp. 2d 856, 860 (E.D. Wis.

2001) (three-judge court) (explaining that “existing apportionment schemes become

instantly unconstitutional upon the release of new decennial census data” (internal

quotation marks omitted)).

      3.    Specifically, the current configuration of Pennsylvania’s congressional

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districts violates (1) the Free and Equal Elections Clause of the Pennsylvania

Constitution; (2) Article I, Section 2 of the U.S. Constitution; (3) 2 U.S.C. § 2c; and

(4) the Petition Clause of the Pennsylvania Constitution. The Pennsylvania

Constitution’s Free and Equal Elections Clause guarantees its citizens the right to

“make their votes equally potent in the election; so that some shall not have more

votes than others, and that all shall have an equal share.” Patterson v. Barlow, 60 Pa.

54, 75 (1869). Article 1, Section 2 of the U.S. Constitution requires states to “achieve

population equality ‘as nearly as is practicable’” when drawing congressional




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districts. Karcher v. Daggett, 462 U.S. 725, 730 (1983) (quoting Wesberry v.
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Sanders, 376 U.S. 1, 7-8 (1964)). 2 U.S.C. § 2c provides that a state should have “a
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number of [congressional] districts equal to the number of Representatives to which
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such State is so entitled.” And the Petition Clause of the Pennsylvania Constitution
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secures voters’ right to associate with other voters to elect their preferred candidates,
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“not simply as [a] restriction[] on the powers of government, as found in the Federal

Constitution, but as [an] inherent and ‘invaluable’ right[] of man.” Commonwealth

v. Tate, 432 A.2d 1382, 1388 (Pa. 1981).

      4.     Petitioners will be forced to cast unequal votes if the current

congressional map is not brought into compliance with constitutional requirements.

Because the current congressional plan is unconstitutionally malapportioned, it

cannot be used in any future election. Moreover, if a new congressional plan is not


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in place in a timely manner, Petitioners’ right to associate with other voters in

support of their preferred candidates will be infringed.

      5.     While “the primary responsibility and authority for drawing federal

congressional legislative districts rests squarely with the state legislature,” when “the

legislature is unable or chooses not to act, it becomes the judiciary’s role to

determine the appropriate redistricting plan.” League of Women Voters v.

Commonwealth, 178 A.3d 737, 821-22 (Pa. 2018) (League of Women Voters I).

      6.     In Pennsylvania, congressional district plans must be enacted through




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legislation, which requires the consent of both legislative chambers and the
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Governor (unless both legislative chambers override the Governor’s veto by a two-
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thirds vote). League of Women Voters I, 178 A.3d at 742; Pa. Const., Art. III, § 4;
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Pa. Const., Art. IV, § 15.
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      7.     There is no reasonable prospect that Pennsylvania’s political branches
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will reach consensus to enact a lawful congressional district plan in time to be used

in the upcoming 2022 election. Currently, Republicans hold majorities (though not

veto-proof majorities) in both chambers of the General Assembly, and Governor

Wolf, who has veto power, is a Democrat. The last time Pennsylvania began a

redistricting cycle in which its political branches were politically split as they are

now, those branches failed to enact a congressional redistricting plan, forcing

Pennsylvania’s judiciary to take responsibility for enacting a new plan. See Mellow


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v. Mitchell, 607 A.2d 204 (Pa. 1992).

      8.     Given the long and acrimonious history of partisan gerrymandering

litigation challenging Pennsylvania’s previous congressional district map, it is clear

that Pennsylvania’s political branches are extremely unlikely to agree to a new

congressional district plan prior to the 2022 election. Just three years ago, the

Republican-controlled General Assembly and Governor Wolf failed to agree on a

new congressional plan following the Pennsylvania Supreme Court’s invalidation of

the plan enacted in 2011, forcing the Court to draw its own. See League of Women




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Voters of Pa. v. Commonwealth, 181 A.3d 1083, 1086 (Pa. 2018) (League of Women
                                                     KE
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Voters II). Because there is no reason to believe that the General Assembly and the
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Governor will be able to reach agreement this time around, this Court should
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intervene to protect the constitutional rights of Petitioners and voters across the
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Commonwealth.
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      9.     While there is still time for the General Assembly and the Governor to

enact a new congressional plan, this Court should assume jurisdiction now and

establish a schedule that will enable the Court to adopt its own plan in the near-

certain event that the political branches fail to timely do so.

                            JURISDICTION AND VENUE

      10.    This Court has original jurisdiction over this Verified Petition for

Review under 42 Pa. C.S. § 761(a)(1) because this matter is asserted against



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Commonwealth officials in their official capacities.

                                          PARTIES

      11.    Petitioners are citizens of the United States and are registered to vote in

Pennsylvania. Petitioners intend to advocate and vote for Democratic candidates in

the upcoming 2022 primary and general elections. Petitioners reside in the following

congressional districts.

    Petitioner’s Name               County of Residence       Congressional District
     Carol Ann Carter                     Bucks                         1
      Monica Parrilla                  Philadelphia                     2




                                                          M
                                                          O
    Rebecca Poyourow                   Philadelphia                     3


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                                                         T.
       William Tung                    Philadelphia                     3
                                                       KE
    Roseanne Milazzo                   Montgomery     C                 4
                                                    O
                                                  YD


        Burt Siegel                    Montgomery                       4
                                                 AC
                                                R




     Susan Cassanelli                   Delaware                        5
                                              C
                                              O




      Lee Cassanelli                    Delaware                        5
                                           EM
                                          D




     Lynn Wachman                        Chester                        6
                                       M
                                      O




     Michael Guttman                     Chester                        6
                                     FR
                                 D




       Maya Fonkeu                     Northampton                      7
                               VE
                               IE




        Brady Hill                     Northampton                      7
                             R
                           ET




   Mary Ellen Balchunis                  Dauphin                       10
                           R




       Tom DeWall                      Cumberland                      10
    Stephanie McNulty                   Lancaster                      11
       Janet Temin                      Lancaster                      11

      12.    As shown below, Petitioners reside in districts that are likely

overpopulated relative to other districts in the state. Thus, they are deprived of the

right to cast an equal vote, as guaranteed to them by the U.S. Constitution and the

Pennsylvania Constitution.

      13.    Respondent Veronica Degraffenreid is the Acting Secretary of the


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Commonwealth and is sued in her official capacity only. In that capacity, Acting

Secretary Degraffenreid is charged with general supervision and administration of

Pennsylvania’s elections and election laws. Acting Secretary Degraffenreid is

Pennsylvania’s Chief Election Official and a member of the Governor’s Executive

Board. Among her numerous responsibilities in administering elections, Acting

Secretary Degraffenreid is responsible for receiving election results from counties

for each congressional district in the Commonwealth, and tabulating, computing,

canvassing, certifying, and filing those results. 25 P.S. § 3159.




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      14.    Respondent Jessica Mathis is the Director for the Bureau of Election
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Services and Notaries, a branch of the Pennsylvania Department of State, and she is
                                             AC
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sued in her official capacity only. In this capacity, Director Mathis is charged with
                                       EM
                                       D
                                    M




supervising and administering the Commonwealth’s elections and electoral process.
                                   O
                                 FR
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                             VE




The Bureau of Election Services and Notaries is responsible for planning,
                            IE
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                         ET
                        R




developing, and coordinating the statewide implementation of the Election Code.

                            FACTUAL ALLEGATIONS

I.    Pennsylvania’s current congressional districts were drawn using 2010
      Census data.

      15.    Pennsylvania’s congressional district map was most recently redrawn

in 2018. On January 22, 2018, the Pennsylvania Supreme Court held that the then-

controlling congressional district map enacted in 2011 by a Republican-controlled

General Assembly and Republican Governor “plainly and palpably” violated the


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Pennsylvania Constitution’s Free and Equal Elections Clause because it was

“corrupted by extensive, sophisticated gerrymandering and partisan dilution.” See

League of Women Voters I, 178 A.3d at 741, 821. The Court provided the General

Assembly and the Governor an opportunity to enact a lawful map, but they failed to

do so. Thus, the Court adopted its own map on February 19, 2018. League of Women

Voters II, 181 A.3d 1083.

      16.    Because the results of the 2010 Census were the most accurate

population data to date, the Court relied exclusively on those data when drawing the




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new map. According to the 2010 Census, Pennsylvania had a population at that time
                                                   KE
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of 12,702,379. Therefore, a decade ago, the ideal population for each of
                                             AC
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Pennsylvania’s congressional districts (i.e., the state’s total population divided by
                                       EM
                                       D
                                    M




the number of districts) was 705,688 persons.
                                   O
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                               D
                             VE




      17.    While the districts crafted by the Court in 2018 had perfectly equal
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                       R




populations (with each district’s population deviating from all others by no more

than one person), those populations were determined using 2010 data.

II.   The 2020 Census is complete.
      18.    In 2020, the U.S. Census Bureau conducted the decennial census

required by Article I, Section 2 of the U.S. Constitution. On April 26, 2021, the U.S.

Secretary of Commerce delivered the results of the 2020 Census to the President.

      19.    The results of the 2020 Census report that Pennsylvania’s resident



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population, as of April 2020, is 13,002,700. This is a significant increase from a

decade ago, when the 2010 Census reported a total population of 12,702,379.

       20.   However, because Pennsylvania’s population growth over the last

decade has been slower compared to many other states, Pennsylvania has lost a

congressional district. Pennsylvania has been apportioned 17 congressional seats for

the 2020 cycle, one fewer than the 18 seats Pennsylvania was apportioned following

the 2010 Census. Thus, beginning with the upcoming 2022 election, Pennsylvania

voters will elect only 17 members to the U.S. House of Representatives.




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       21.   According to the 2020 Census results, the ideal population for each of
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Pennsylvania’s congressional districts is 764,865.
                                             AC
                                            R
                                           C
                                           O




III.   As a result of significant population shifts in the past decade,
                                       EM




       Pennsylvania’s  congressional  districts   are  unconstitutionally
                                       D
                                   M




       malapportioned.
                                   O
                                FR
                               D
                             VE




       22.   In the past decade, Pennsylvania’s population has shifted significantly.
                           IE
                          R
                        ET




Because the 2020 Census has now been completed, the 2010 population data used
                       R




to draw Pennsylvania’s congressional districts are obsolete, and any prior

justifications for the existing maps’ deviations from population equality are no

longer applicable.

       23.   By mid-to-late August 2021, the U.S. Secretary of Commerce will

deliver to Pennsylvania its redistricting data file in a legacy format, which the

Commonwealth may use to tabulate the new population of each political



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subdivision. 1 On or around September 30, 2021, the U.S. Secretary of Commerce

will deliver to Pennsylvania that same detailed population data showing the new

population of each political subdivision in a tabulated format. 2 These data are

commonly referred to as “P.L. 94-171 data,” a reference to the 1975 legislation that

first required this process, and are typically delivered no later than April of the year

following the Census. See Pub. L. No. 94-171, 89 Stat. 1023 (1975).

       24.    2019 Census Bureau data make clear that significant population shifts

have occurred in Pennsylvania’s congressional districts since 2010, skewing the




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current districts far from population equality.
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       25.    The table below estimates how the populations of each of
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Pennsylvania’s congressional districts shifted between 2010 and 2019. For each
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                                       M




district, the “2010 Population” column represents the district’s 2010 population
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                                VE




according to the 2010 Census, and the “2019 Population” column indicates the
                              IE
                             R
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                         R




estimated 2019 population according to the U.S. Census Bureau’s 2019 American

Community Survey (ACS) 1-Year Survey. The “Shift” column represents the

difference in district population between 2010 and 2019. The “Deviation from Ideal

2019 Population” column shows how far the estimated 2019 population of each


1
  See U.S. Census Bureau Statement on Release of Legacy Format Summary Redistricting Data
File, U.S. Census Bureau (Mar. 15, 2021), https://www.census.gov/newsroom/press-releases/
2021/statement-legacy-format-redistricting.html.
2
  See Census Bureau Statement on Redistricting Data Timeline, U.S. Census Bureau (Feb. 12,
2021),       https://www.census.gov/newsroom/press-releases/2021/statement-redistricting-data-
timeline.html.

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district strays from the estimated ideal 2019 congressional district population. And

the “Percent Deviation” column shows that deviation as a percentage of the ideal

district population as of 2019.

                                                                Deviation
              2010       2019                                  from Ideal    Percent
 District                                          Shift
            Population Population                                  2019     Deviation
                                                               Population
    1        705,687        713,411           +7,724             +2,189      +0.31%
    2        705,688        722,722           +17,034            +11,500     +1.62%
    3        705,688        741,654           +35,966            +30,432     +4.28%
    4        705,687        730,701           +25,014            +19,479     +2.74%
    5        705,688        719,973           +14,285            +8,751      +1.23%




                                                           M
                                                           O
    6        705,688        735,283           +29,595            +24,061     +3.38%


                                                           C
                                                          T.
                                                        KE
    7        705,688        731,467           +25,779            +20,245     +2.85%
                                                       C
                                                      O
    8        705,687        698,973            -6,714            -12,249     -1.72%
                                                    YD


    9        705,687        699,832            -5,855            -11,390     -1.60%
                                               AC
                                              R




    10       705,688        744,681           +38,993            +33,459     +4.70%
                                            C
                                           O
                                       EM




    11       705,688        734,038           +28,350            +22,816     +3.21%
                                       D




    12       705,688        701,387            -4,301             -9,835     -1.38%
                                      M
                                   O




    13       705,688        697,051            -8,637            -14,171     -1.99%
                                  FR
                               D




    14       705,688        678,915           -26,773            -32,307     -4.54%
                             VE
                            IE




    15       705,688        672,749           -32,939            -38,473     -5.41%
                           R
                         ET




    16       705,687        678,333           -27,354            -32,889     -4.62%
                       R




    17       705,688        706,961           +1,273              -4,261     -0.60%
    18       705,688        693,858           -11,830            -17,364     -2.44%

      26.    The table above indicates population shifts since 2010 have rendered

Congressional Districts 8, 9, 12, 13, 14, 15, 16, 17, and 18 significantly

underpopulated, and Congressional Districts 1, 2, 3, 4, 5, 6, 7, 10, and 11

significantly overpopulated. Indeed, the figures in the table above indicate that,

between 2010 and 2019, the maximum deviation among Pennsylvania’s 18



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congressional districts (i.e., the difference between the most and least populated

districts divided by the ideal district population) increased from 0 to more than 10

percent. Notably, this table does not account for the severe malapportionment that

will result from the fact that Pennsylvania has lost a congressional district.

      27.    Due to these population shifts, Pennsylvania’s existing congressional

district configuration is unconstitutionally malapportioned. It also contains more

districts than the number of representatives that Pennsylvanians may send to the U.S.

House in 2022.




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      28.    If used in any future election, the current congressional district
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configuration will unconstitutionally dilute the strength of Petitioners’ votes because
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they live in districts with populations that are significantly larger than those in which
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                                     M




other voters live.
                                    O
                                  FR
                                D
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IV.   Pennsylvania’s political branches will likely fail to enact lawful
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                           R




      congressional district maps in time for the next election.
                         ET
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      29.    In Pennsylvania, congressional district plans are enacted via legislation,

which must pass both chambers of the General Assembly and be signed by the

Governor (unless the General Assembly overrides the Governor’s veto by a two-

thirds vote in both chambers). League of Women Voters I, 178 A.3d at 742; Pa.

Const., Art. III, § 4; Pa. Const., Art. IV, § 15. Currently, both chambers of

Pennsylvania’s General Assembly are controlled by the Republican Party, and the

Governor is a Democrat. Republican control of the General Assembly is not large


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enough to override a gubernatorial veto. This partisan division among

Pennsylvania’s political branches makes it extremely unlikely they will enact a

lawful congressional districting plan in time to be used during the upcoming 2022

election.

      30.    Pennsylvania law does not set a deadline by which congressional

redistricting plans must be in place prior to the first congressional election following

release of the Census. Nonetheless, it is in the interests of voters, candidates, and

Pennsylvania’s entire electoral apparatus that finalized congressional districts be put




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in place as soon as possible, well before candidates in those districts must begin to
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collect signatures on their nomination papers. Potential congressional candidates
                                              AC
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cannot make strategic decisions—including, most importantly, whether to run at
                                        EM
                                        D
                                     M




all—without knowing their district boundaries. And voters have a variety of interests
                                    O
                                 FR
                                D
                              VE




in knowing as soon as possible the districts in which they reside and will vote, and
                            IE
                           R
                         ET
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the precise contours of those districts. These interests include deciding which

candidates to support and whether to encourage others to run; holding elected

representatives accountable for their conduct in office; and advocating for and

organizing around candidates who will share their views, including by working

together with other district voters in support of favored candidates.

      31.    Nomination papers for candidates seeking to appear on the ballot for

the 2022 partisan primary election can be circulated as early as February 15, 2022,


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less than a year away. 25 P.S. § 2868. And the deadline for filing those papers falls

just a few weeks later. Id. It is in everyone’s interest—candidates and voters alike—

that district boundaries are set well before this date. Delaying the adoption of the

new plan even until the ballot petition deadline will substantially interfere with

Petitioners’ abilities to associate with like-minded citizens, educate themselves on

the positions of their would-be representatives, and advocate for the candidates they

prefer. Cf. Anderson v. Celebrezze, 460 U.S. 780, 787-88 (1983) (“The [absence] of

candidates also burdens voters’ freedom of association, because an election




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                                                         O
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                                                      T.
campaign is an effective platform for the expression of views on the issues of the
                                                    KE
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day, and a candidate serves as a rallying point for like-minded citizens.”).
                                              AC
                                             R
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      32.    While the General Assembly was able to enact redistricting plans after
                                        EM
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                                     M




the 2010 Census without court intervention, Republicans had trifecta control over
                                    O
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                              VE




the state government at that time. The last time Pennsylvania began a redistricting
                            IE
                           R
                         ET
                        R




cycle with political branches divided along partisan lines, as they are now, they failed

to enact a new congressional redistricting plan. This failure required intervention by

Pennsylvania’s judiciary, which drew and adopted a congressional district map.

Mellow, 607 A.2d 204. Similarly, after the Pennsylvania Supreme Court invalidated

Pennsylvania’s congressional plan three years ago, the Republican-controlled

General Assembly was unable to come to agreement with Governor Wolf on a new

plan, forcing the Court to draw a remedial map. League of Women Voters II, 181


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A.3d at 1086.

      33.    Pennsylvania is once again entering a redistricting cycle with political

branches divided between the two major parties. If anything, the partisan differences

among the major parties have only grown starker since their last attempt to reach

consensus on redistricting plans in 1991. In just the last two years, Governor Wolf

and the Republican-controlled General Assembly have repeatedly conflicted over a

broad range of policies such as the state’s response to the COVID-19 pandemic,

emergency executive powers, environmental issues, and gun regulations, with the




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Governor using his veto power on numerous occasions. Additionally, the Census
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delays have compressed the amount of time during which the legislative process
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would normally take place. As a result, the political branches are highly likely to be
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at an impasse this cycle and to fail to enact a new congressional district plan. This
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would deprive Petitioners of equal representation in Congress and their freedom of
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association. To avoid such an unconstitutional outcome, this Court must intervene

to ensure Petitioners and other Pennsylvanians’ voting strength is not diluted.

                             CLAIMS FOR RELIEF

                                      COUNT I

                  Violation of Free and Equal Elections Clause
                              Pa. Const., Art. I, § 5
                       Congressional Malapportionment

      34.    Petitioners reallege and reincorporate by reference all prior paragraphs



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of this Petition and the paragraphs in the count below as though fully set forth herein.

      35.    The Pennsylvania Constitution’s Free and Equal Elections Clause

provides: “Elections shall be free and equal; and no power, civil or military, shall at

any time interfere to prevent the free exercise of the right of suffrage.” Pa. Const.,

Art. I, § 5. This clause “should be given the broadest interpretation, one which

governs all aspects of the electoral process, and which provides the people of this

Commonwealth an equally effective power to select the representative of his or her

choice, and bars the dilution of the people’s power to do so.” League of Women




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Voters I, 178 A.3d at 814.
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      36.    The Free and Equal Elections Clause “establishe[s] a critical ‘leveling’
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protection in an effort to establish the uniform right of the people of this
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Commonwealth to select their representatives in government.” Id. at 807.
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      37.    The “equality” prong of the Free and Equal Elections Clause requires
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that voting districts be drawn “by laws which shall arrange all the qualified electors

into suitable districts, and make their votes equally potent in the election; so that

some shall not have more votes than others, and that all shall have an equal share.”

Id. at 809 (quoting Patterson, 60 Pa. at 75). Thus, any scheme that “has the effect of

impermissibly diluting the potency of an individual’s vote for candidates for elective

office relative to that of other voters will violate the guarantee of ‘free and equal’

elections afforded by Article I, Section 5.” Id.


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      38.    Pennsylvania’s current congressional district plan places voters into

districts with significantly disparate populations, causing voters in underpopulated

districts to have more “potent” votes compared to voters, like Petitioners, who live

in districts with comparatively larger populations.

      39.    Any future use of Pennsylvania’s current congressional district plan

would violate Petitioners’ right to an undiluted vote under the Free and Equal

Elections Clause.

                                      COUNT II




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       Violation of Article I, Section 2 of the United States Constitution
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                      Congressional MalapportionmentO
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      40.    Petitioners reallege and reincorporate by reference all prior paragraphs
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of this Petition and the paragraphs in the count below as though fully set forth herein.
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      41.    Article 1, Section 2 of the U.S. Constitution provides that members of
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the U.S. House of Representatives “shall be apportioned among the several
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States . . . according to their respective Numbers.” This provision “intends that when

qualified voters elect members of Congress each vote be given as much weight as

any other vote,” Wesberry, 376 U.S. at 7, meaning that state congressional districts

must “achieve population equality ‘as nearly as is practicable,’” Karcher, 462 U.S.

at 730 (quoting Wesberry, 376 U.S. at 7-8).

      42.    Article I, Section 2 “permits only the limited population variances

which are unavoidable despite a good-faith effort to achieve absolute equality, or for


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which justification is shown.” Karcher, 462 U.S. at 730 (quoting Kirkpatrick v.

Preisler, 394 U.S. 526, 531 (1969)). And “the State must justify each variance, no

matter how small.” Id. (quoting Kirkpatrick, 394 U.S. at 530-31). Given this

requirement, when the Pennsylvania Supreme Court adopted its own congressional

plan in 2018, it crafted a plan in which the population deviation among districts was

no more than one person. Now, as indicated in the table above, the population

deviation among Pennsylvania’s congressional districts may be as high as 71,932

people.




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      43.    In light of the significant population shifts that have occurred since the
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2010 Census, and the recent publication of the results of the 2020 Census, the current
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configuration of Pennsylvania’s congressional districts—which was drawn based on
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2010 Census data—is now unconstitutionally malapportioned. No justification can
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be offered for the deviation among the congressional districts because any
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justification would be based on outdated population data.

      44.    Any future use of Pennsylvania’s current congressional district plan

would violate Petitioners’ constitutional right to cast an equal, undiluted vote.

                                     COUNT III

                            Violation of 2 U.S.C. § 2c
                         Congressional Malapportionment

      45.    Petitioners reallege and reincorporate by reference all prior paragraphs

of this Petition and the paragraphs in the count below as though fully set forth herein.

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      46.    2 U.S.C. § 2c provides that, in a state containing “more than one

Representative,” “there shall be established by law a number of districts equal to the

number of Representatives to which such State is so entitled.”

      47.    Pennsylvania’s current congressional district plan contains 18 districts.

But Pennsylvania is currently allotted only 17 seats in the U.S. House. As a result,

the current congressional district plan violates Section 2c’s requirement that the

number of congressional districts be “equal to the number of Representatives to

which [Pennsylvania] is so entitled.”




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      48.    Any future use of Pennsylvania’s current congressional district plan
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would violate 2 U.S.C. § 2c and would unlawfully dilute Petitioners’ votes.
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                                     COUNT IV
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                            Violation of Petition Clause
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                              Pa. Const., Art. I, § 20
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                              VE




                             Freedom of Association
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      49.    Petitioners reallege and reincorporate by reference all prior paragraphs
                        R




of this Petition and the paragraphs in the count below as though fully set forth herein.

      50.    The Pennsylvania Constitution’s Petition Clause provides: “The

citizens have a right in a peaceable manner to assemble together for their common

good, and to apply to those invested with the powers of government for redress of

grievances or other proper purposes, by petition, address or remonstrance.” Pa.

Const., Art. I, § 20. “The Pennsylvania Constitution affords greater protection of



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speech and associational rights than does our Federal Constitution.” Working

Families Party v. Commonwealth, 169 A.3d 1247, 1260 (Pa. Commw. Ct. 2017)

(citing DePaul v. Commonwealth, 969 A.2d 536, 546 (Pa. 2009)); see also

Commonwealth v. Tate, 432 A.2d 1382, 1388 (Pa. 1981) (“It is small wonder, then,

that the rights of freedom of speech, assembly, and petition have been guaranteed

since the first Pennsylvania Constitution, not simply as restrictions on the powers of

government, as found in the Federal Constitution, but as inherent and ‘invaluable’

rights of man.”).




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      51.    Impeding candidates’ abilities to run for political office—and
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consequently Petitioners’ abilities to assess candidate qualifications and positions,
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organize and advocate for preferred candidates, and associate with like-minded
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voters—infringes on Petitioners’ right to association.
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      52.    Given the delay in publication of the 2020 Census data and the near-
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certain deadlock among the political branches in adopting a new congressional

district plan, it is significantly unlikely that the legislative process will timely yield

a new plan. This would deprive Petitioners of the ability to associate with others

from the same lawfully apportioned congressional district, and, therefore, is likely

to significantly, if not severely, burden Petitioners’ right to association.

      53.    There is no legitimate or compelling interest that can justify this burden.




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                              PRAYER FOR RELIEF

WHEREFORE, Petitioners respectfully request that this Court:

      a. Declare that the current configuration of Pennsylvania’s congressional

         districts violates Article I, Section 5 of the Pennsylvania Constitution;

         Article I, Section 2 of the U.S. Constitution; 2 U.S.C. § 2c; and Article I,

         Section 20 of the Pennsylvania Constitution;

      b. Enjoin Respondents, their respective agents, officers, employees, and

         successors, and all persons acting in concert with each or any of them, from




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         implementing, enforcing, or giving any effect to Pennsylvania’s current
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         congressional district plan;
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      c. Establish a schedule that will enable the Court to adopt and implement a
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         new congressional district plan by a date certain should the political
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         branches fail to enact such plan by that time;
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      d. Implement a new congressional district plan that complies with Article I,

         Section 5 of the Pennsylvania Constitution; Article I, Section 2 of the U.S.

         Constitution; 2 U.S.C. § 2; and Article I, Section 20 of the Pennsylvania

         Constitution, if the political branches fail to enact a plan by a date certain

         set by this Court;

      e. Award Petitioners their costs, disbursements, and reasonable attorneys’

         fees; and


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     f. Grant such other and further relief as the Court deems just and proper.



Dated: April 26, 2021                          Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Case Records

Public Access Policy of the Unified Judicial System of Pennsylvania that require

filing confidential information and documents differently than non-confidential

information and documents.




                                       Submitted by: Edward D. Rogers




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                                       Signature:      /s/ Edward D. Rogers


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                                       Name:        C  Edward D. Rogers
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                             NOTICE TO PLEAD

TO:                Acting Secretary Veronica Degraffenreid
                   Pennsylvania Department of State
                   Office of the Secretary
                   302 North Office Building, 401 North Street
                   Harrisburg, PA 17120

                   Director Jessica Mathis
                   Pennsylvania Bureau of Election Services and Notaries
                   210 North Office Building, 401 North Street
                   Harrisburg, PA 17120



            You are hereby notified to file a written response to the enclosed

Petition for Review within thirty (30) days from service hereof or a judgment may

be entered against you.



Dated:      April 26, 2010

                                                   /s/ Robert J. Clark
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                          CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below, I caused the foregoing

Petition for Review to be served upon the following parties and in the manner

indicated below, which service satisfies the requirements of Pa. R.A.P. 1514 and

121:

                    By Certified Mail:

                    Acting Secretary Veronica Degraffenreid
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                    Office of the Secretary
                    302 North Office Building, 401 North Street
                    Harrisburg, PA 17120

                    Director Jessica Mathis
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Dated:       April 26, 2021

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                    Exhibit B
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                                                  6:42:17 PM Commonwealth 106 of Pennsylvania

                                          Filed 9/16/2021 6:42:00 PM Commonwealth Court of Pennsylvania
                                                                                           132 MD 2021

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      IN THE COMMONWEALTH COURT OF PENNSYLVANIA


  CAROL ANN CARTER, et al.,
            Petitioners,
      v.

  VERONICA DEGRAFFENREID, in her official
  capacity as Acting Secretary of the Commonwealth of
  Pennsylvania, et al.,
                Respondents.
                                                                        No. 132 MD 2021

       RESPONDENTS’ BRIEF IN SUPPORT OF PRELIMINARY
      OBJECTIONS TO PETITIONERS’ PETITION FOR REVIEW
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       Respondents, Acting Secretary of the Commonwealth Veronica

Degraffenreid and Director of the Bureau of Election Services and Notaries Jessica

Mathis, submit the following Memorandum of Law in support of their Preliminary

Objections.

I.     INTRODUCTION

        The Petition for Review raises serious and weighty issues. Respondents

agree with Petitioners that the right to vote of the individual Petitioners, and of all

Pennsylvania voters, must be protected. They agree that timely congressional

redistricting that complies with federal and state law is necessary to protect this

right to vote. And they agree that, if the political branches of Pennsylvania’s

government fail to carry out that redistricting, the courts will be required to step in.

       Respondents do not agree, however, that the political branches have failed in

their responsibilities to voters, or that Petitioners have shown that failure is

inevitable. At this point, all that Petitioners allege is that it is possible that the

General Assembly and the Governor will reach an impasse on congressional

redistricting legislation and will not be able to enact such legislation in time for the

2022 primary election. But the possibility of an impasse does not suffice to state a

claim, and cannot justify the Court stepping in at this point.

       Before this Court can intercede, Pennsylvania law requires more than a

chance that Petitioners’ rights may be endangered some time down the road. Under
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bedrock principles of standing, the harm to Petitioners cannot be wholly contingent

on future events. And for Petitioners’ claims to be ripe, the facts must be

sufficiently developed to permit judicial resolution. Here, Petitioners’ claims fail

on both fronts.

        Respondents do not argue that the Court’s doors are or should be closed to

Petitioners permanently. As of today, however, Petitioners’ forecast—stormy

though it may be—is too uncertain to establish Petitioners’ standing and state a

ripe claim for relief.

II.     STATEMENT OF JURISDICTION

         The Petition for Review is addressed to this Court’s original jurisdiction,

pursuant to 42 Pa. C.S. § 761(a)(1).

 III.    STATEMENT OF THE CASE

          Petitioners—16 individuals living in 11 different Pennsylvania

congressional districts—filed their Petition for Review addressed to the Court’s

original jurisdiction on April 26, 2021. Petitioners allege that their voting rights

will be potentially burdened by a chain of events that was set in motion by the

completion of the 2020 decennial census. According to Petitioners, once the United

States Secretary of Commerce delivered the apportionment data obtained by the

2020 Census to the President, use of the existing congressional districts of each

state—including those of Pennsylvania—became unconstitutional. See, e.g., Pet. ¶¶



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2-4. Petitioners allege that unless new congressional districts are put in place in

time for 2022’s primary and general elections, their rights will be violated. Id. ¶ 7.

        Petitioners acknowledge that under Pennsylvania law, congressional

district maps are the responsibility of the political branches—the legislature and

the executive—in the first instance. “In Pennsylvania, congressional district plans

must be enacted through legislation, which requires the consent of both legislative

chambers and the Governor (unless both legislative chambers override the

Governor’s veto by a two-third vote).” Pet. ¶ 6 (citing League of Women Voters v.

Commonwealth, 178 A.3d 737, 742 (Pa. 2018)).

        Petitioners hypothesize, however, that redistricting is unlikely to proceed

along ordinary legislative lines in 2021 and 2022, because Pennsylvania’s

“political branches are highly likely to be at an impasse this cycle and to fail to

enact a new congressional district plan.” Id. ¶ 33. The support Petitioners offer for

this proposition is that Pennsylvania’s legislative and executive branches are

controlled by different parties; that “[i]n just the last two years, Governor Wolf and

the Republican-controlled General Assembly have repeatedly conflicted over a

broad range of policies”; and that Census delays have compressed the legislature’s

time to enact a new congressional district plan. Id. Without a new congressional

district plan, Petitioners allege, they “will be forced to cast unequal

votes[,]…[b]ecause the current congressional plan is unconstitutionally



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malapportioned[.]” Pet. ¶ 4. Additionally, Petitioners allege that if they are forced

to participate in upcoming elections that use the old map, their “right to associate

with other voters in support of their preferred candidates will be infringed.” Id. As

a result, Petitioners ask that the Court “assume jurisdiction now and establish a

schedule that will enable the Court to adopt its own plan in the near-certain event

that the political branches fail to timely do so.” Id. ¶ 9.

          The potential harms that Petitioners allege are uncertain and far in the future.

First, Petitioners do not allege that the political branches have announced an

impasse. Second, they acknowledge that the legislature has not missed any

deadlines. See Pet. ¶ 30 (“Pennsylvania law does not set a deadline by which

congressional redistricting plans must be in place prior to the first congressional

election following release of the Census.”).

          Finally, Petitioners do not contend that it will be impossible for the

legislative and executive branches to agree on a congressional district map, and

could not reasonably contend this. While the Governor has exercised his veto

power at times in the past two years, legislation has also passed during that time

with bipartisan support and without a veto—including important voting-related

legislation. For example, less than two years ago, the General Assembly enacted

and the Governor signed Act 77 of 2019,1 which allowed all eligible voters to vote


1
    Act of Oct. 31, 2019 (P.L. 552, No. 77), 2019 Pa. Legis. Serv. Act. 2019-77 (S.B. 421) (West).

                                                 -4-
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by mail-in ballot and made many other important changes to Pennsylvania’s

Election Code. Five months later, the General Assembly enacted and the Governor

signed Act 12 of 2020, 2 which made further changes to the Election Code and

included sweeping temporary measures to respond to the COVID-19 pandemic.

Both of these important voting laws received bipartisan support in the General

Assembly.

           Petitioners also concede, as they must, that “there is still time for the

General Assembly and the Governor to enact a new congressional plan[.]” Id. ¶ 9.

The first day for candidates to circulate and file nomination petitions for the 2022

primary election is February 15, 2022. In order to ensure efficient election

administration, allow for timely notice to candidates, and permit proper

implementation of the new congressional districts, Respondents believe that the

Department of State must receive a final and legally binding congressional district

map no later than January 24, 2022. See Respondents’ Preliminary Objections ¶¶

13-17. In order to account for potential litigation, Respondents believe that a new

map must be signed into law by the end of December 2021. Id. ¶ 17. A map signed

into law in late December would not be unprecedented. The congressional district

map that followed the 2010 Census, for example, was signed into law on

December 22, 2011. League of Women Voters, 178 A.3d at 743-44. If the political


2
    Act of Mar. 27, 2020 (P.L. 41, No. 12), 2020 Pa. Legis. Serv. Act 2020-12 (S.B. 422) (West).

                                                -5-
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branches act promptly, they could easily meet a similar deadline. 3

IV.    STATEMENT OF THE QUESTIONS INVOLVED

       1.     Where Petitioners allege harm that is speculative and uncertain,

should the Court sustain Respondents’ Preliminary Objection for lack of standing

and ripeness?

       Suggested Answer: Yes.

V.     ARGUMENT

       To establish standing to seek relief from this Court, a party must

demonstrate that it is “aggrieved,” that is, that it has “a substantial, direct, and

immediate interest in the matter.” Markham v. Wolf, 136 A.3d 134, 140 (Pa. 2016);

accord Pittsburgh Palisades Park, LLC v. Commonwealth, 888 A.2d 655, 660 (Pa.

2005). “[A]n interest is ‘immediate’ if the causal connection is not remote or

speculative.” Pittsburgh Palisades Park, 888 A.2d at 660 (citation omitted).

       Like standing, the principle of ripeness “mandates the presence of an actual

controversy.” Bayada Nurses, Inc. v. Department of Labor and Industry, 8 A.3d


        3
           There is no indication that the political branches are delaying; they appear to be
actively moving the redistricting process forward. The U.S. Census Bureau released redistricting
data in legacy format on August 12, 2021. See https://www.census.gov/programs-
surveys/decennial-census/data/datasets/rdo.html. Using that data, the House State Government
Committee is soliciting public input on new maps, including by holding a series of hearings
across the Commonwealth. See http://www.paredistricting.com. Governor Wolf is also soliciting
the public’s feedback, and has established a Redistricting Advisory Council to assist him in
evaluating proposed maps. See https://www.governor.pa.gov/redistricting-feedback/;
https://www.governor.pa.gov/wp-content/uploads/2021/09/20210913-EO-2021-05-Redistricting-
Advisory-Council.pdf.

                                              -6-
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866, 874 (Pa. 2010). Unlike standing, however, ripeness “also reflects the separate

concern that relevant facts are not sufficiently developed to permit judicial

resolution of the dispute.” Robinson Twp., Washington Cty. v. Com., 83 A.3d 901,

917 (Pa. 2013).

      Here, all of Petitioners’ claims turn on one key fact—whether or not there

will be a new congressional district plan in place in time for the 2022 election.

Petitioners allege only that it is “highly likely” that Pennsylvania’s political

branches will “be at an impasse this cycle” and “fail to enact a new congressional

district plan.” Pet. ¶ 33. That fact, as Petitioners acknowledge, is still unresolved:

“there is still time for the General Assembly and the Governor to enact a new

congressional plan[.]” Pet. ¶ 9. Because no one knows what will happen in the

negotiations between the legislature and the Governor—let alone whether the

negotiations will break down, a necessary prerequisite to Petitioners’ claims—the

facts underlying the Petition for Review are quintessentially “not sufficiently

developed to permit judicial resolution of the dispute,” and therefore are not ripe.

Robinson, 83 A.3d at 917; see also Philips Bros. Elec. Contractors, Inc. v.

Pennsylvania Turnpike Comm’n, 960 A.2d 941, 945 (Pa. Commw. Ct. 2008)

(factors considered in ripeness inquiry include “whether the claim involves

uncertain and contingent events that may not occur as anticipated or at all”)

(citations omitted). Similarly, “any possible harm to Petitioners is wholly



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contingent on future events.” Pittsburgh Palisades Park, 888 A.2d at 660. “[A]s

Petitioners do not offer that [negotiation over a new congressional district plan] has

harmed them or will harm them in any way that is not remote or speculative, they

fail to demonstrate that they have an immediate interest,” as is required for

standing. Id. (citation omitted).

      Petitioners’ Memorandum in Opposition to Respondents’ Preliminary

Objections (“Mem. Opp.”) sets forth no persuasive reason for the Court to

conclude that Petitioners have standing or that their claims are ripe. First,

Petitioners argue, courts in Minnesota and Wisconsin have exercised jurisdiction

under similar circumstances. See Mem. Opp. at 11-13, 15-16, 18-20. But the cases

Petitioners rely upon are not at all similar to this one. The Minnesota state court

cases of Wattson v. Simon, No. A21-0243, and Sachs v. Simon, No. A21-0546,

involve the work of a hybrid entity with no counterpart in Pennsylvania: a “special

redistricting panel,” made up of judges, that conducts public outreach and

factfinding in order to prepare itself to address any redistricting litigation that may

arise. See Wattson v. Simon, Nos. A21-0243 and A21-0546 (Minn. Spec.

Redistricting Panel Sept. 13, 2021), available at

https://www.mncourts.gov/mncourtsgov/media/High-Profile-Cases/A21-

0243%202021%20Redistricting/A21-0243_Order-Briefing-Scheduling_9-13-

2021.pdf (stating that “the panel wishes to gather information about Minnesota



                                          -8-
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communities from Minnesota citizens” and scheduling ten public hearings across

the state). Given the panel’s expansive and time-consuming role, and the fact that

Minnesota, unlike Pennsylvania, has statutory deadlines for the establishment of

new maps, see Minn. Stat. Ann. § 204B.14(1a), it is not surprising that the

Minnesota Supreme Court concluded that the panel should begin its work in the

summer of 2021. See Wattson v. Simon, Nos. A21-0243 and A21-0546 (Minn. June

30, 2021) at 2. That decision, under those unique circumstances, has no bearing on

the standing and ripeness questions here.

      Arrington v. Elections Board, 173 F. Supp. 2d 856 (E.D. Wisc. 2001), is

similarly unhelpful. In that case, two groups of legislators—the State Senate

Democratic Caucus, who intervened as plaintiffs, and the State Senate’s Speaker

and Minority Leader, who intervened as defendants—filed briefs agreeing that the

case was justiciable, and the Senate leaders agreed with the plaintiffs that impasse

was a “very real possibility.” Id. at 858-59, 864. The court relied on these

admissions to conclude that it had jurisdiction. Id. at 864. In this case, the political

branches have not taken such a position. Moreover, Arrington interprets federal

law as applied to the Wisconsin legislative process, and thus has no persuasive

force here.

      Petitioners’ second argument is that the Court must act now because the

congressional districts are malapportioned. Mem. Opp. at 8-9. But the fact that the



                                          -9-
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current districts may not have equal numbers of voters causes no constitutional

injury. “Malapportionment's harm is felt by individuals in overpopulated districts

who actually suffer a diminution in the efficacy of their votes and their

proportional voice in the legislature.” Garcia v. 2011 Legislative Reapportionment

Commission, 559 Fed. Appx. 128, 133 (3d Cir. 2014). Accordingly,

malapportionment cannot cause injury until an election occurs using the

malapportioned districts—and, as discussed above, at this point such an injury is

wholly speculative.

       There may come a time when Petitioners’ claim ripens and they have

standing, but as the allegations in their Petition show, that time has not arrived and

may never arrive. Accordingly, this case cannot proceed.

 VI.    CONCLUSION

       For the foregoing reasons, Respondents respectfully request that this Court

sustain their Preliminary Objection for lack of standing and ripeness and enter an

order dismissing the Petition for Review without prejudice.

                             Respectfully submitted,

                                   HANGLEY ARONCHICK SEGAL
                                   PUDLIN & SCHILLER

 Dated: September 16, 2021         By: /s/ Michele D. Hangley
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                                          Robert A. Wiygul (I.D. No. 310760)
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                    Exhibit C
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            IN THE COMMONWEALTH COURT OF PENNSYLVANIA

Carol Ann Carter; Monica Parrilla;      :
Rebecca Poyourow; William Tung;         :
Roseanne Milazzo; Burt Siegel;          :
Susan Cassanelli; Lee Cassanelli;       :
Lynn Wachman; Michael Guttman;          :
Maya Fonkeu; Brady Hill; Mary Ellen     :
Balchunis; Tom DeWall; Stephanie        :
McNulty; and Janet Temin,               :
                                        :
                           Petitioners  :
                                        :
                 v.                     : No. 132 M.D. 2021
                                        : Argued: October 5, 2021
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of     :
the Commonwealth of Pennsylvania;       :
Jessica Mathis, in her official         :
capacity as Director for the            :
Pennsylvania Bureau of Election         :
Services and Notaries,                  :
                                        :
                           Respondents :

BEFORE:        HONORABLE PATRICIA A. McCULLOUGH, Judge
               HONORABLE MICHAEL H. WOJCIK, Judge (P.)
               HONORABLE ELLEN CEISLER, Judge

OPINION NOT REPORTED

MEMORANDUM OPINION
BY JUDGE WOJCIK                                                  FILED: October 8, 2021

               Before this special panel 1 are the Preliminary Objections (POs) of
Respondents Veronica Degraffenreid, in her official capacity as the Acting Secretary

       1
           See Section 112(b) of the Internal Operating Procedures of the Commonwealth Court,
210 Pa. Code §69.112(b) (“The President Judge may designate Judges to serve on a special court
. . . panel to hear election law matters, appellate or original jurisdiction, on an expedited basis.”).
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of the Commonwealth of Pennsylvania, Jessica Mathis, in her official capacity as
Director for the Pennsylvania Bureau of Election Services and Notaries
(collectively, Respondents), and Intervenors Speaker of the Pennsylvania House of
Representatives Bryan Cutler, Majority Leader of the Pennsylvania House of
Representatives Kerry Benninghoff, President Pro Tempore of the Pennsylvania
Senate Jake Corman, and Majority Leader of the Pennsylvania Senate Kim Ward
(collectively, Intervenors)2 to Petitioners’3 Petition for Review (Petition) addressed
to this Court’s original jurisdiction.4


                                    I. Petition for Review
               On April 26, 2021, Petitioners filed the Petition against Respondents
challenging the current congressional district map based on the 2020 Census.
Petitioners identify themselves as 16 citizens of the United States (U.S.) who are
registered to vote in Pennsylvania in 11 different federal congressional districts.5


       2
        Following a hearing, by Memorandum Opinion and Order dated September 2, 2021, this
Court granted Intervenors leave to intervene. Carter v. DeGraffenreid (Pa. Cmwlth., No. 132
M.D. 2021, filed September 2, 2021).

       3
         Petitioners are Carol Ann Carter, Monica Parrilla, Rebecca Poyourow, William Tung,
Roseanne Milazzo, Burt Siegel, Susan Cassanelli, Lee Cassanelli, Lynn Wachman, Michael
Guttman, Maya Fonkeu; Brady Hill; Mary Ellen Balchunis, Tom DeWall, Stephanie McNulty,
and Janet Temin.

       4
          Pursuant to Section 761(a)(1) of the Judicial Code, this Court has “original jurisdiction
of all civil actions or proceedings . . . [a]gainst the Commonwealth, including any officer thereof,
acting in his official capacity.” 42 Pa. C.S. §761(a)(1).

       5
         Specifically, Petitioners reside in Bucks, Chester, Cumberland, Dauphin, Delaware,
Lancaster, Montgomery, Northampton, and Philadelphia Counties and in congressional districts 1
through 7, 10, and 11.


                                                 2
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Petitioners intend to advocate and vote for Democratic candidates in the upcoming
2022 primary and general elections. Petition, ¶11.
                As we detailed in the September 2, 2021 Memorandum Opinion, 6 the
Petition provides details regarding the results of the 2020 Census, the dates by which
the U.S. Secretary of Commerce must provide the U.S. President and the states with
the apportionment data, and the effect of the COVID-19 pandemic on the delivery
of that data.       The Petition further explains that, while the Commonwealth’s
population increased from the last decennial census, the 2020 Census shows that the
Commonwealth will lose a representative seat in the U.S. House of Representatives.
Starting with the upcoming 2022 elections, the Commonwealth will have 17
representatives in the U.S. House of Representatives, 1 fewer than the current 18
representatives. The Commonwealth’s congressional district map must be redrawn
to accommodate for the loss of a seat in the U.S. House of Representatives.
Petitioners claim that the Commonwealth’s current congressional districts are
“unconstitutionally malapportioned” due to shifts in population within the
Commonwealth. Petition, ¶2. They believe that the congressional districts in which
they live are overpopulated, while other districts are underpopulated, and that,
consequently, their votes for members of the U.S. House of Representatives are
diluted. Petition, ¶¶18-21.
                The Petition observes that Pennsylvania law does not set a deadline by
which a new congressional district map must be put in place prior to the first
congressional election following a census. According to Petitioners, it is in the best
interest of voters, candidates, and the Commonwealth’s entire electoral apparatus to
have a new, final congressional district map in place prior to February 15, 2022, the


      6
          See Carter, slip op. at 3-6.
                                            3
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date on which candidates may begin collecting signatures on nomination petitions
for placement on the primary election ballot. Petition, ¶¶30-31.
                The Petition informs that the Commonwealth’s current congressional
district map was drawn by the Pennsylvania Supreme Court in League of Women
Voters of Pennsylvania v. Commonwealth, 181 A.3d 1083 (Pa. 2018) (League of
Women Voters III), after the Republican-controlled General Assembly and
Democratic Governor failed to agree upon a new congressional district map
following the Supreme Court’s invalidation of the Commonwealth’s 2011
congressional district map. The current political climate has not changed since 2018,
as Republican representatives maintain the majority in both houses of the General
Assembly and Governor Tom Wolf is a Democrat. For these reasons, Petitioners
contend that it is “unlikely” that the political branches of the government will agree
upon a new congressional district map. Petition, ¶¶8, 29, 32, 42, 52.
                Petitioners present four counts alleging that the current congressional
district map violates: (1) Article I, Section 5 of the Pennsylvania Constitution (free
and equal elections clause);7 (2) 2 U.S.C. §2c (relating to districting for U.S. House
of Representatives); 8 (3) Article I, Section 20 of the Pennsylvania Constitution

       7
          Pa. Const. art. I, §5. Article I, Section 5 of the Pennsylvania Constitution, states:
“Elections shall be free and equal; and no power, civil or military, shall at any time interfere to
prevent the free exercise of the right of suffrage.”

       8
           2 U.S.C. §2c provides:

                In each State entitled in the Ninety-first Congress or in any
                subsequent Congress thereafter to more than one Representative
                under an apportionment made pursuant to the provisions of section
                2a(a) of this title, there shall be established by law a number of
                districts equal to the number of Representatives to which such State
                is so entitled, and Representatives shall be elected only from
(Footnote continued on next page…)
                                                 4
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(relating to right to petition); 9 and (4) Article I, Section 2 of the U.S. Constitution
(relating to qualifications for member of the U.S. House of Representatives).10


                 districts so established, no district to elect more than one
                 Representative (except that a State which is entitled to more than
                 one Representative and which has in all previous elections elected
                 its Representatives at Large may elect its Representatives at Large
                 to the Ninety-first Congress).

       9
          Pa. Const. art. I, §20. Article I, Section 20 of the Pennsylvania Constitution provides:
“The citizens have a right in a peaceable manner to assemble together for their common good, and
to apply to those invested with the powers of government for redress of grievances or other proper
purposes, by petition, address or remonstrance.”

       10
            U.S. Const. art. I, §2. Article I, Section 2 of the U.S. Constitution provides:

                 The House of Representatives shall be composed of Members
                 chosen every second Year by the People of the several States, and
                 the Electors in each State shall have the Qualifications requisite for
                 Electors of the most numerous Branch of the State Legislature.

                 No Person shall be a Representative who shall not have attained to
                 the Age of twenty[-]five Years, and been seven Years a Citizen of
                 the United States, and who shall not, when elected, be an Inhabitant
                 of that State in which he shall be chosen.

                 [Representatives and direct Taxes shall be apportioned among the
                 several States which may be included within this Union, according
                 to their respective Numbers, which shall be determined by adding to
                 the whole Number of free Persons, including those bound to Service
                 for a Term of Years, and excluding Indians not taxed, three fifths of
                 all other Persons.] The actual Enumeration shall be made within
                 three Years after the first Meeting of the Congress of the United
                 States, and within every subsequent Term of ten Years, in such
                 Manner as they shall by Law direct. The Number of Representatives
                 shall not exceed one for every thirty Thousand, but each State shall
                 have at Least one Representative; and until such enumeration shall
                 be made, the State of New Hampshire shall be entitled to chuse
                 three, Massachusetts eight, Rhode-Island and Providence
                 Plantations one, Connecticut five, New-York six, New Jersey four,
(Footnote continued on next page…)
                                                   5
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             For relief, Petitioners seek both declaratory and injunctive relief.
Specifically, they ask the Court to:

             a. Declare that the current configuration of Pennsylvania’s
             congressional districts violates . . . the Pennsylvania
             Constitution [and] . . . the U.S. Constitution . . . ;

             b. Enjoin Respondents, their respective agents, officers,
             employees, and successors, and all persons acting in
             concert with each or any of them, from implementing,
             enforcing, or giving any effect to Pennsylvania’s current
             congressional district plan;

             c. Establish a schedule that will enable the Court to adopt
             and implement a new congressional district plan by a date
             certain should the political branches fail to enact such plan
             by that time;

             d. Implement a new congressional district plan that
             complies with . . . the Pennsylvania Constitution [and]
             . . . the U.S. Constitution . . . , if the political branches fail
             to enact a plan by a date certain set by this Court;

             e. Award Petitioners their costs, disbursements, and
             reasonable attorneys’ fees; and

             f. Grant such other and further relief as the Court deems
             just and proper.
Petition at 21-22.




             Pennsylvania eight, Delaware one, Maryland six, Virginia ten,
             North Carolina five, South Carolina five, and Georgia three.

             When vacancies happen in the Representation from any State, the
             Executive Authority thereof shall issue Writs of Election to fill such
             Vacancies. The House of Representatives shall chuse their Speaker
             and other Officers; and shall have the sole Power of Impeachment.


                                               6
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                                 II. Preliminary Objections
               In response to the Petition, Respondents and Intervenors filed POs.
Both Respondents and Intervenors preliminarily object on the bases that Petitioners
lack standing and their claims are not ripe pursuant to Pa.R.Civ.P. 1028(a)(4), (5).11
Additionally, Intervenors object on the grounds that the claims are nonjusticiable
and that Petitioners fail to otherwise state a claim upon which relief may be granted.12


                                          A. Standing
               With regard to standing, Respondents and Intervenors both assert that
Petitioners lack capacity to sue because they are not aggrieved. Petitioners’ claims
turn on one key fact – whether or not there will be a new congressional district plan
in time for the 2022 primary election. Petitioners’ claims are predicated on the
supposition that because the General Assembly is controlled by one political party,
the Governor is a member of another political party, and there has been “conflict”
between these actors in the past, it is highly unlikely that Pennsylvania will enact a
new congressional district plan in time for the 2022 primary election, which would
cause them harm. The possible harm is wholly contingent on future events, which

       11
          Pa.R.Civ.P. 1028(a)(4), (5) provides: “Preliminary objections may be filed by any party
to any pleading and are limited to the following grounds: . . . (4) legal insufficiency of a pleading
(demurrer); [and] (5) lack of capacity to sue[.]”

       12
           “In ruling on preliminary objections, the courts must accept as true all well-pled facts
that are material and all inferences reasonably deducible from the facts.” Pennsylvania
Independent Oil and Gas Association v. Department of Environmental Protection, 135 A.3d 1118,
1123 (Pa. Cmwlth. 2015), aff’d, 161 A.3d 949 (Pa. 2017) (quoting Guarrasi v. Scott, 25 A.3d 394,
400 n.5 (Pa. Cmwlth. 2011)). “However, we ‘are not required to accept as true any unwarranted
factual inferences, conclusions of law or expressions of opinion.’” Id. (quoting Guarrasi, 25 A.3d
at 400 n.5). “To sustain preliminary objections, ‘it must appear with certainty that the law will
permit no recovery’ and ‘[a]ny doubt must be resolved in favor of the non-moving party.’” Id.
(quoting Guarrasi, 25 A.3d at 400 n.5).
                                                 7
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may never happen. Petitioners’ failure to demonstrate an immediate interest defeats
standing.
              The hallmark of standing is that “a person who is not adversely affected
in any way by the matter he seeks to challenge is not ‘aggrieved’ thereby.” William
Penn Parking Garage, Inc. v. City of Pittsburgh, 346 A.2d 269, 280 (Pa. 1975). An
individual is aggrieved if he has a “substantial, direct and immediate interest in the
outcome of the litigation.” Fumo v. City of Philadelphia, 972 A.2d 487, 496 (Pa.
2009). “[A]n interest is ‘immediate’ if the causal connection is not remote or
speculative.” Pittsburgh Palisades Park, LLC v. Commonwealth, 888 A.2d 655, 660
(Pa. 2005).
              Our Supreme Court addressed standing in Office of Governor v.
Donahue, 98 A.3d 1223, 1229 (Pa. 2014), explaining:

              In Pennsylvania, the doctrine of standing . . . is a
              prudential, judicially created principle designed to
              winnow out litigants who have no direct interest in a
              judicial matter. In re Hickson, [821 A.2d 1238, 1243 (Pa.
              2003)]. For standing to exist, the underlying controversy
              must be real and concrete, such that the party initiating the
              legal action has, in fact, been “aggrieved.” Pittsburgh
              Palisades Park, [888 A.2d at 659]. . . . As this Court
              explained in William Penn Parking Garage, “the core
              concept [of standing] is that a person who is not adversely
              affected in any way by the matter he seeks to challenge is
              not ‘aggrieved’ thereby and has no standing to obtain a
              judicial resolution to his challenge.” 346 A.2d at 280-81.
              A party is aggrieved for purposes of establishing standing
              when the party has a “substantial, direct and immediate
              interest” in the outcome of litigation. Johnson [v.
              American Standard, 8 A.3d 318, 329 (Pa. 2010)] (quoting
              Fumo[, 972 A.2d at 496]). A party’s interest is substantial
              when it surpasses the interest of all citizens in procuring
              obedience to the law; it is direct when the asserted
              violation shares a causal connection with the alleged harm;
              finally, a party’s interest is immediate when the causal
                                           8
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              connection with the alleged harm is neither remote nor
              speculative. Id. [(emphasis added).]

              Here, Petitioners’ allegations fail to meet the immediacy test.
Petitioners do not allege that they have sustained a present or imminent legally
cognizable injury or otherwise sufficiently develop facts to permit judicial resolution
at this juncture. Petitioners’ claims are predicated on what may happen in the event
a new congressional map is not enacted before the 2022 primary election.
              At this juncture, Petitioners’ claims are premature. Petitioners filed this
suit in April 2021 on the heels of the 2020 Census release without ever giving the
General Assembly and the Governor an opportunity to act. In fact, Petitioners allege
that the U.S. Secretary of Commerce was not expected to deliver to Pennsylvania
the redistricting data in legacy format until mid-to-late-August 2021, or the same
detailed population data showing the new population of each political subdivision in
a tabulated format until September 30, 2021. 13 Petition, ¶23.
              Petitioners’ action is premised on their belief that it is “extremely
unlikely” that the branches will pass a lawful congressional redistricting plan in time
for the upcoming 2022 election. Petition, ¶29. Petitioners attribute this unlikelihood
to the divided political branches. Petition, ¶29. Both chambers of the General
Assembly are controlled by the Republican Party and the Governor is a Democrat.
Petition, ¶29. The Republican control of the General Assembly is not large enough
to override a gubernatorial veto. Petition, ¶29. However, Petitioners do not allege
that the political branches have announced a present impasse.




       13
         The U.S. Census Bureau provided redistricting data in legacy format for all states on
August      12,     2021.           See      https://www.census.gov/programs-surveys/decennial-
census/data/datasets/rdo.html (last visited October 5, 2021).
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                 Nor do they allege that a legislative impasse is a fait accompli based on
the political divide between the General Assembly and the Governor. In fact,
Petitioners admit that, in the last two years, legislation has passed with bipartisan
support and without a gubernatorial veto, despite the current political division.
Respondents’ Preliminary Objections, ¶10; Petitioners’ Answer to Respondents’
Preliminary Objections, ¶10; see, e.g., Act 77 of 201914 (allowing all eligible voters
to vote by mail-in ballot); Act 12 of 2020 15 (changes to voting by mail-in electors
and sweeping temporary measures to respond to the COVID-19 pandemic).
                 Petitioners acknowledge, as they must, that “there is still time for the
General Assembly and the Governor to enact a new congressional plan.” Petition,
¶9. Petitioners also acknowledge that Pennsylvania law does not set a deadline by
which congressional redistricting plans must be in place prior to the first
congressional election following the census. Petition, ¶30. Petitioners allege that
“it is in everyone’s interests – candidates and voters alike – that district boundaries
are set” prior to February 15, 2022 – the first day for candidates to circulate and file
nomination petitions for the 2022 primary election. Petition, ¶31. There is still
ample time for the lawmakers to act.16 See League of Women Voters of Pennsylvania
v. Commonwealth, 178 A.3d 737, 743 (Pa. 2018) (League of Women Voters II)

       14
            Act of October 31, 2019, P.L. 552, No. 77.

       15
            Act of March 27, 2020, P.L. 41, No. 12.

       16
          Respondents concede that February 15, 2022, is a key date for redistricting. “In order to
ensure efficient election administration, allow for timely notice to candidates, and permit proper
implementation of the new congressional districts,” Respondents assert that “the Department of
State must receive a final and legally binding congressional district map no later than January 24,
2022.” Respondents’ Brief at 5; see Respondents’ Preliminary Objections, ¶¶13-17. “In order to
account for potential litigation, Respondents believe that a new map must be signed into law by
the end of December 2021.” Respondents’ Brief at 5; see Respondents’ Preliminary Objections,
¶17.
                                                10
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(noting that the congressional district map that followed the 2010 Census was signed
into law on December 22, 2011).
             Should lawmakers fail to act, Pennsylvania courts have demonstrated
the ability to move swiftly to implement remedial congressional districting plans,
which further undermines Petitioners’ demand for immediate, premature relief. In
Mellow v. Mitchell, 607 A.2d 204, 205 (Pa. 1992), eight Democratic state senators
brought an action on January 28, 1992, the first day to circulate nominating petitions
that year, asking the Supreme Court to create a new congressional district plan due
to an impasse. On March 10, 1992, only 42 days after the suit was filed, the Supreme
Court adopted a remedial plan.        Similarly, in League of Women Voters of
Pennsylvania v. Commonwealth, 175 A.3d 282 (Pa. 2018) (League of Women Voters
I), on January 22, 2018, the Supreme Court struck down the 2011 congressional
district plan. See League of Women Voters II, 178 A.3d at 825. On February 19,
2018, just 28 days later, the Supreme Court adopted a remedial plan. League of
Women Voters III, 181 A.3d at 1089-1121.
             Although it is possible that the General Assembly and the Governor
may reach an impasse on the congressional redistricting legislation, the mere
possibility is not sufficient to state a cognizable claim. “[A]ny possible harm to
Petitioners is wholly contingent on future events,” which may never occur.
Pittsburgh Pallisades Park, 888 A.2d at 660. Because no one can predict what will
happen in negotiations between the General Assembly and the Governor, the facts
underlying the Petition and alleged harm are far too speculative and uncertain to




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constitute an immediate interest. Petitioners cannot reserve their place in line to be
the lead petitioners in the event that future impasse litigation becomes necessary.17

        17
           Petitioners rely upon jurisprudence from Wisconsin and Minnesota to support their
position that they have standing to prosecute their claims and that their claims are ripe at this
juncture. Petitioners’ Memorandum of Law in Opposition to Preliminary Objections, at 2; see
Arrington v. Elections Board, 173 F. Supp. 2d 856 (E.D. Wis. 2001); Wattson v. Simon (Minn.,
Nos. A21-0243, A21-0546, filed June 30, 2021); see also Sachs v. Simon (Minn., No. A21-0546,
filed May 20, 2021). According to Petitioners, the courts in Wisconsin and Minnesota accepted
jurisdiction in similar redistricting cases where a risk of impasse was alleged. The Wisconsin
Supreme Court found that the complaint presented a justiciable controversy upon recognizing that
“challenges to districting laws may be brought immediately upon release of official data showing
district imbalance.” Arrington, 173 F. Supp. 2d at 860 (citations omitted). Recently, the
Minnesota Supreme Court appointed a special redistricting panel to “order implementation of
judicially determined redistricting plans for state legislative and congressional seats that satisfy
constitutional and statutory requirements in the event that the Legislature and the Governor have
not done so in a timely manner,” noting that the redistricting panel’s “work . . . must commence
soon in order to permit the judicial branch to fulfill its proper role in assuring that valid redistricting
plans are in place for the state legislative and congressional election in 2022.” Wattson, Order at
2-3.

        First, we are not bound by decisions from courts in other jurisdictions. E.N. v. M. School
District, 928 A.2d 453, 466 n.20 (Pa. Cmwlth. 2007); Ferraro v. Temple University, 185 A.3d 396,
404 (Pa. Super. 2018). Second, although we may use such decisions “for guidance to the degree
they are found to be useful, persuasive, and . . . not incompatible with Pennsylvania law,” such is
not the case here. Ferraro, 185 A.3d at 404. In Minnesota, a “special redistricting panel,”
comprised of judges, conducts public outreach and factfinding to prepare itself to address any
redistricting litigation that may arise. Wattson, Order at 2-3. Pennsylvania has no such
counterpart. Minnesota also has statutory deadlines. Wattson, Order at 2 (citing “Minn. Stat.
§204B.14, subd. 1a (2020),” which provides that redistricting plans are to be implemented no “later
than 25 weeks before the state primary election” in 2022). Given the panel’s expansive role and
the statutory deadline, the Minnesota Supreme Court concluded that the panel should commence
its work in the summer of 2021. Wattson, Order at 3. That decision, under those unique
circumstances, has no bearing on the standing and ripeness issues under Pennsylvania
jurisprudence. Furthermore, the Minnesota orders do not contain any analysis regarding the
standing and ripeness issues presented here.

       Arrington is similarly unpersuasive. There, two groups of legislators - the Wisconsin State
Senate Democratic Caucus, who intervened as plaintiffs, and the Wisconsin State Senate’s Speaker
and Minority Leader, who intervened as defendants - filed briefs agreeing that the case was
(Footnote continued on next page…)
                                                   12
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               Although we recognize that Petitioners’ rights might be abridged at
some future point in time, at this juncture, the alleged harm is too remote and too
speculative to warrant judicial resolution of the dispute. Petitioners’ allegations fail
to demonstrate the immediacy required to confer standing. We, therefore, sustain
Respondents’ and Intervenors’ POs on the basis that Petitioners lack standing to
litigate their claims.
                                           B. Ripeness
               Next, Respondents and Intervenors preliminarily object to the Petition
on the basis that Petitioners’ claims are not ripe because the claims are based on
uncertain and contingent events that may never occur.
               “There is considerable overlap between the doctrines of standing and
ripeness, especially where the contentions regarding lack of justiciability are focused
on arguments that the interest asserted by the petitioner is speculative, not concrete,
or would require the court to offer an advisory opinion.” Robinson Township,
Washington County v. Commonwealth, 83 A.3d 901, 917 (Pa. 2013). Like standing,
the principles of ripeness “mandates the presence of an actual controversy.” Bayada
Nurses, Inc. v. Department of Labor and Industry, 8 A.3d 866, 874 (Pa. 2010).
Unlike standing, “ripeness also reflects the separate concern that relevant facts are
not sufficiently developed to permit judicial resolution of the dispute.” Robinson
Township, 83 A.3d at 917.
               Under the ripeness doctrine, “[w]here no actual controversy exists, a
claim is not justiciable and a declaratory judgment action cannot be maintained.”

justiciable and that “legislative failure to redistrict is a very real possibility.” 173 F. Supp. 2d at
858-59, 864. Based on these admissions, the Arrington Court accepted jurisdiction. Id. at 864.
Conversely, here, the political branches have not taken such a position. Further, Arrington
interpreted federal law as applied to the Wisconsin legislative process, which is not applicable
here.
                                                 13
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Cherry v. City of Philadelphia, 692 A.2d 1082, 1085 (Pa. 1997). In other words,
declaratory judgment is not appropriate to determine rights in anticipation of events
that may never occur; the presence of an actual controversy is generally required.
Id. The same holds true for actions seeking injunctive relief. Mazur v. Washington
County Redevelopment Authority, 954 A.2d 50, 56 (Pa. Cmwlth. 2008).
             “In deciding whether the doctrine of ripeness bars our consideration . . .
we consider [(1)] whether the issues are adequately developed for judicial review
and [(2)] what hardships the parties will suffer if review is delayed.” Township of
Derry v. Pennsylvania Department of Labor and Industry, 932 A.2d 56, 57-58 (Pa.
2007) (internal citations and quotations omitted). As for whether the issues are
“adequately developed,” we examine “whether the claim involves uncertain and
contingent events that may not occur as anticipated or at all; the amount of fact
finding required to resolve the issue; and whether the parties to the action are
sufficiently adverse.” Id.
             Rooted in the first part of this test is the principle that “[o]nly where
there is a real controversy may a party obtain a declaratory judgment. A declaratory
judgment must not be employed to determine rights in anticipation of events [that]
may never occur or for consideration of moot cases or as a medium for the rendition
of an advisory opinion which may prove to be purely academic.” Gulnac by Gulnac
v. South Butler County School District, 587 A.2d 699, 701 (Pa. 1991) (internal
citations omitted); accord City of Philadelphia v. Philadelphia Transportation Co.,
171 A.2d 768, 770 (Pa. 1961). “Under the ‘hardship’ analysis, we may address the
merits even if the case is not as fully developed as we would like, if refusal to do so
would place a demonstrable hardship on the party.” Township of Derry, 932 A.2d
at 58 (emphasis added).


                                          14
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             Petitioners’ claims are premised on the fear that there will not be a new
congressional district plan in place in time for the 2022 primary election. Petitioners
allege that it is highly likely that Pennsylvania’s political branches will “be at an
impasse this cycle” and “fail to enact a new congressional district plan.” Petition,
¶33. However, the issues are not adequately developed because these events may
never occur. As Petitioners acknowledge, there is still time for lawmakers to enact
a new congressional district plan. Petition, ¶9. Petitioners’ claims also ignore the
presumption that public officials will faithfully discharge their duties.        In re
Redevelopment Authority of Philadelphia, 938 A.2d 341, 345 (Pa. 2007).
             Additionally, Petitioners will not suffer any hardship if review is
delayed. Only if the General Assembly and the Governor fail to adopt a new
congressional district plan by an arbitrary deadline will the alleged constitutional
and statutory violations occur. As this Court observed, “[a]t this juncture, it is not
known how the redistricting process will proceed.” Carter, slip op. at 12. “The
events which might bring these parties into actual conflict are thus too remote to
justify our resolution of this dispute by declaratory judgment.” South Whitehall
Township v. Department of Transportation, 475 A.2d 166, 169 (Pa. Cmwlth. 1984).
             The fact that the current districts may not have equal numbers of voters
does not give rise to a constitutional injury. “Malapportionment’s harm is felt by
individuals in overpopulated districts who actually suffer a diminution in the
efficacy of their votes and the proportional voice in the legislature.” Garcia v. 2011
Legislative Reapportionment Commission, 559 F. App’x 128, 133 (3d Cir. 2014).
Petitioners will not suffer an injury based on malapportionment harm until an
election occurs using malapportioned districts.




                                          15
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                 Because Petitioners have alleged no immediate harm and their claims
are contingent on future uncertainties, Petitioners’ claims are not ripe for disposition.
We, therefore, sustain Respondents’ and Intervenors’ POs on the basis that the
dispute is not ripe.18


                                          III. Conclusion
                 Based on the foregoing discussion, we sustain Respondents’ and
Intervenors’ POs based on a lack of standing and ripeness as to all four counts of the
Petition. Accordingly, we dismiss the Petition without prejudice. 19




                                                MICHAEL H. WOJCIK, Judge




       18
         We recognize that there may come a time when Petitioners’ claims ripen, and they will
have standing to pursue the claims in the Petition; however, that time is not now.

       19
            In light of this disposition, we decline to address Intervenors’ additional POs.
                                                  16
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         IN THE COMMONWEALTH COURT OF PENNSYLVANIA


Carol Ann Carter; Monica Parrilla;      :
Rebecca Poyourow; William Tung;         :
Roseanne Milazzo; Burt Siegel;          :
Susan Cassanelli; Lee Cassanelli;       :
Lynn Wachman; Michael Guttman;          :
Maya Fonkeu; Brady Hill; Mary Ellen     :
Balchunis; Tom DeWall; Stephanie        :
McNulty; and Janet Temin,               :
                                        :
                           Petitioners  :
                                        :
                 v.                     : No. 132 M.D. 2021
                                        :
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of     :
the Commonwealth of Pennsylvania;       :
Jessica Mathis, in her official         :
capacity as Director for the            :
Pennsylvania Bureau of Election         :
Services and Notaries,                  :
                                        :
                           Respondents :


                                  ORDER


            AND NOW, this 8th day of October, 2021, Respondents’ and
Intervenors’ Preliminary Objections relating to lack of standing and ripeness are
SUSTAINED.       Petitioners’ Petition for Review is DISMISSED WITHOUT
PREJUDICE.



                                      __________________________________
                                      MICHAEL H. WOJCIK, Judge

                                                                       Order Exit
                                                                       10/08/2021
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                    Exhibit D
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                                                                                             464 MD 2021

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        IN THE COMMONWEALTH COURT OF PENNSYLVANIA

CAROL ANN CARTER; MONICA PARRILLA;
REBECCA POYOUROW; WILLIAM TUNG; ROSEANNE
MILAZZO; BURT SIEGEL; SUSAN CASSANELLI; LEE                         No.
CASSANELLI; LYNN WACHMAN; MICHAEL                                   ______________
GUTTMAN; MAYA FONKEU; BRADY HILL; MARY
ELLEN BALCHUNIS; TOM DEWALL; STEPHANIE
MCNULTY; and JANET TEMIN,
                   Petitioners,
      v.
VERONICA DEGRAFFENREID, in her official capacity as
the Acting Secretary of the Commonwealth of Pennsylvania;
JESSICA MATHIS, in her official capacity as Director for
the Pennsylvania Bureau of Election Services and Notaries,
                   Respondents.


                    PETITION FOR REVIEW
       ADDRESSED TO THE COURT’S ORIGINAL JURISDICTION

                                  INTRODUCTION

      1.     This is an action challenging Pennsylvania’s lack of constitutional

congressional district boundaries for the 2022 election cycle. Petitioners ask the

Court to (1) declare unconstitutional Pennsylvania’s current congressional district

plan, which has become malapportioned by a decade of population shifts and now

allocates more congressional districts than Pennsylvania has been lawfully allotted;

(2) enjoin Respondents from using the current plan in any future elections; and (3)

adopt a new congressional district plan that adheres to the constitutional requirement
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of one-person, one-vote now that it is clear that the General Assembly and Governor

will not timely act to do so.

       2.      This past August, the U.S. Secretary of Commerce delivered census-

block results of the 2020 Census to Pennsylvania’s Governor and legislative leaders.

These data confirm the inevitable reality that population shifts in the last decade

have        rendered   Pennsylvania’s    congressional     plan     unconstitutionally

malapportioned. See Arrington v. Elections Bd., 173 F. Supp. 2d 856, 860 (E.D. Wis.

2001) (three-judge court) (explaining that “existing apportionment schemes become

instantly unconstitutional upon the release of new decennial census data” (internal

quotation marks omitted)). Census data also confirmed that Pennsylvania will be

allocated only 17 Members in the next Congress, one fewer than currently allocated.

       3.      These changes render Pennsylvania’s current congressional districts

both unlawful and unconstitutional. Specifically, the current configuration of

Pennsylvania’s congressional districts violates (1) the Free and Equal Elections

Clause of the Pennsylvania Constitution, which guarantees its citizens the right to

“make their votes equally potent in the election; so that some shall not have more

votes than others, and that all shall have an equal share.” Patterson v. Barlow, 60 Pa.

54, 75 (1869); (2) Article I, Section 2 of the U.S. Constitution’s requirement that

states “achieve population equality ‘as nearly as is practicable’” when drawing

congressional districts. Karcher v. Daggett, 462 U.S. 725, 730 (1983) (quoting



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Wesberry v. Sanders, 376 U.S. 1, 7-8 (1964)); and (3) 2 U.S.C. § 2c’s requirement

that a state should have “a number of [congressional] districts equal to the number

of Representatives to which such State is so entitled.”

      4.     While “the primary responsibility and authority for drawing federal

congressional legislative districts rests squarely with the state legislature,” when “the

legislature is unable or chooses not to act, it becomes the judiciary’s role to

determine the appropriate redistricting plan.” League of Women Voters v.

Commonwealth, 178 A.3d 737, 821-22 (Pa. 2018) (League of Women Voters I). It is

now clear that Pennsylvania’s political branches will not timely act to pass such a

plan, requiring the judiciary to step in.

      5.     Although Pennsylvania’s General Assembly and its Governor have

now had months to attempt to reach compromise on a congressional plan, they have

not done so. They are not even in agreement over basic criteria: shortly after

Governor Wolf explicitly identified the criteria that any congressional plan would

need to meet in order to receive his signature, the General Assembly released a plan

violating those criteria.

      6.     More importantly, however, beyond this dispute over the substance of

a new congressional plan, the General Assembly has now adjourned for the

remainder of 2021 without passing a new constitutional congressional plan and will

not reconvene until January 2022. This delay means that it is now impossible for



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Pennsylvania’s political branches to reach agreement on a congressional plan by the

end of December 2021, the time by which the Department of State previously

explained it would be necessary for the political branches to have enacted a map for

the 2022 elections to proceed on time.

      7.     This mimics what happened the last time Pennsylvania began a

redistricting cycle in which its political branches were politically split as they are

now: they failed to enact a congressional redistricting plan, forcing Pennsylvania’s

judiciary to take responsibility for enacting a new plan. See Mellow v. Mitchell, 607

A.2d 204 (Pa. 1992). And, more recently, just three years ago, the General Assembly

and Governor Wolf could not agree on a new congressional plan following the

Pennsylvania Supreme Court’s invalidation of the plan enacted in 2011, forcing the

Court to draw its own. See League of Women Voters of Pa. v. Commonwealth, 181

A.3d 1083, 1086 (Pa. 2018) (League of Women Voters II). This time, too, the Court

should intervene to protect the constitutional rights of Petitioners and voters across

the Commonwealth.

                           JURISDICTION AND VENUE
      8.     This Court has original jurisdiction over this Verified Petition for

Review under 42 Pa. C.S. § 761(a)(1) because this matter is asserted against

Commonwealth officials in their official capacities.




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                                      PARTIES

      9.     Petitioners are citizens of the United States and are registered to vote in

Pennsylvania. Petitioners reside in the following congressional districts:

    Petitioner’s Name           County of Residence          Congressional District
     Carol Ann Carter                 Bucks                            1
      Monica Parrilla              Philadelphia                        2
    Rebecca Poyourow               Philadelphia                        3
       William Tung                Philadelphia                        3
    Roseanne Milazzo               Montgomery                          4
        Burt Siegel                Montgomery                          4
     Susan Cassanelli               Delaware                           5
      Lee Cassanelli                Delaware                           5
     Lynn Wachman                    Chester                           6
     Michael Guttman                 Chester                           6
       Maya Fonkeu                 Northampton                         7
        Brady Hill                 Northampton                         7
   Mary Ellen Balchunis              Dauphin                          10
       Tom DeWall                  Cumberland                         10
    Stephanie McNulty               Lancaster                         11
       Janet Temin                  Lancaster                         11

      10.    As shown below, Petitioners reside in districts that are overpopulated

relative to other districts in the state. Thus, they are deprived of the right to cast an

equal vote, as guaranteed to them by the U.S. Constitution and the Pennsylvania

Constitution.

      11.    Respondent Veronica Degraffenreid is the Acting Secretary of the

Commonwealth and is sued in her official capacity only. In that capacity, Acting

Secretary Degraffenreid is charged with general supervision and administration of

Pennsylvania’s elections and election laws. Acting Secretary Degraffenreid is


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Pennsylvania’s Chief Election Official and a member of the Governor’s Executive

Board. Among her numerous responsibilities in administering elections, Acting

Secretary Degraffenreid is responsible for receiving election results from counties

for each congressional district in the Commonwealth, and tabulating, computing,

canvassing, certifying, and filing those results. 25 P.S. § 3159.

      12.    Respondent Jessica Mathis is the Director for the Bureau of Election

Services and Notaries, a branch of the Pennsylvania Department of State, and she is

sued in her official capacity only. In this capacity, Director Mathis is charged with

supervising and administering the Commonwealth’s elections and electoral process.

The Bureau of Election Services and Notaries is responsible for planning,

developing, and coordinating the statewide implementation of the Election Code.

                           FACTUAL ALLEGATIONS

I.    Pennsylvania’s current congressional districts were drawn using 2010
      Census data.
      13.    Pennsylvania’s current congressional district map was drawn in 2018

as the result of litigation over the map that had been drawn and enacted in 2011.

      14.    On January 22, 2018, the Pennsylvania Supreme Court held that the

then-controlling congressional district map “plainly and palpably” violated the

Pennsylvania Constitution’s Free and Equal Elections Clause because it was

“corrupted by extensive, sophisticated gerrymandering and partisan dilution.”

League of Women Voters I, 178 A.3d at 741, 821.


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      15.    The Court provided the General Assembly and the Governor an

opportunity to enact a lawful map, but they failed to do so. Thus, the task of drawing

a constitutionally compliant map fell to the Court. See generally League of Women

Voters II, 181 A.3d at 1083.

      16.    Because the results of the 2010 Census were the most accurate

population data at the time, the Court relied exclusively on that data in drawing a

new map.

      17.    According to the 2010 Census, Pennsylvania had a population of

12,702,379. Based on that data, the ideal population for each of Pennsylvania’s

congressional districts (the state’s total population divided by the number of

districts) in 2010 was 705,688 persons.

      18.    The Court-drawn map was adopted on February 19, 2018. See generally

League of Women Voters II, 181 A.3d at 1083. In it, the districts had perfectly equal

populations, with each district’s population deviating from all others by no more

than one person, based on the 2010 data.

II.   The 2020 Census is complete.
      19.    In 2020, the U.S. Census Bureau conducted the decennial census

required by Article I, Section 2 of the U.S. Constitution.

      20.    On April 26, 2021, the U.S. Secretary of Commerce delivered the

results of the 2020 Census to the President, and on August 12, 2021, the U.S.



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Secretary of Commerce delivered census-block results of the 2020 Census to

Pennsylvania’s Governor and legislative leaders.

       21.     The results of the 2020 Census report that Pennsylvania’s resident

population is 13,002,700. This is a significant increase from a decade ago, when the

2010 Census reported a total population of 12,702,379.

       22.     Because Pennsylvania’s population growth over the last decade has

been slower compared to many other states, however, Pennsylvania lost a

congressional district.

       23.     Pennsylvania has been apportioned only 17 congressional seats for the

next Congress, one fewer than the 18 seats it was apportioned following the 2010

Census.

       24.     Thus, beginning with the upcoming 2022 election, Pennsylvania voters

will elect only 17 members to the U.S. House of Representatives.

       25.     According to the 2020 Census results, the ideal population for each of

Pennsylvania’s congressional districts under a 17-seat allocation is 722,372,

approximately 17,000 more persons per district than under the 2010 Census

allocations.

III.   As a result of significant population shifts, Pennsylvania’s congressional
       districts are unconstitutionally malapportioned.
       26.     In the past decade, Pennsylvania’s population has shifted significantly,

skewing the presently drawn congressional districts far from population equality.


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And now that the 2020 Census is complete, the 2010 population data used to draw

those districts are obsolete, making any prior justifications for the existing map’s

deviations from population equality no longer applicable.

      27.      In August 2021, the U.S. Secretary of Commerce delivered detailed

population data to the Commonwealth of Pennsylvania, which the State may use to

tabulate the new population of each subdivision. These data are commonly referred

to as “P.L. 94-171 data,” a reference to the legislation enacting this process. See Pub.

L. No. 94-171, 89 Stat. 1023 (1975).

      28.      This P.L. 94-171 data demonstrated that population shifts since 2010

have rendered Congressional Districts 8, 9, 12, 13, 14, 15, 16, and 18 significantly

underpopulated, and Congressional Districts 1, 2, 3, 4, 5, 6, 7, 10, 11, and 17

significantly overpopulated.

      29.      Due to these population shifts, Pennsylvania’s existing congressional

districts are unconstitutionally malapportioned.

      30.      If used in any future election, the current congressional plan will

unconstitutionally dilute the strength of Petitioners’ votes because they live in

districts with populations that are significantly larger than those in which other

voters live.

IV.   As a result of significant population shifts in the past decade across the
      United States, Pennsylvania’s congressional districts are also unlawfully
      apportioned.


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       31.    In addition to malapportionment, Pennsylvania’s congressional plan

also contains more districts than the number of representatives that Pennsylvanians

may send to the U.S. House in the next Congress.

       32.    After the 2010 Census, Pennsylvania was allocated 18 seats in the

United States House of Representatives.

       33.    While Pennsylvania gained population over the past decade, it did not

keep pace with the population growth across the rest of the United States, meaning

that Pennsylvania is entitled to only 17 congressional seats for the next Congress.

       34.    2 U.S.C. § 2c provides that a state should have “a number of

[congressional] districts equal to the number of Representatives to which such State

is so entitled.”

       35.    Because the General Assembly and Governor have not reached

agreement on a congressional plan that contains only 17 congressional districts, any

future use of Pennsylvania’s current apportionment plan would be unlawful.

V.     Pennsylvania’s political branches will not enact lawful congressional
       district maps in time for the next election.
       36.    In Pennsylvania, congressional district plans are enacted via legislation,

which must pass both chambers of the General Assembly and be signed by the

Governor (unless the General Assembly overrides the Governor’s veto by a two-

thirds vote in both chambers). League of Women Voters I, 178 A.3d at 742; Pa.

Const., Art. III, § 4; Pa. Const., Art. IV, § 15.


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      37.    The General Assembly and Governor Wolf have had months to reach

agreement on a congressional district plan. They have not done so.

      38.    Weeks ago, Governor Wolf released criteria that he announced he

would consider in deciding whether to approve the General Assembly’s proposed

congressional plans. These criteria were consistent with Pennsylvania law and

straightforward: maps should be compact, contiguous, nearly as equal in population

as practicable, should maintain communities of interest, and reflect the state’s voter

preferences as a whole, to name just a few.

      39.    Recently, the Pennsylvania House State Government Committee

approved a redistricting plan that violates Governor’s Wolf pre-existing criteria for

congressional district plans across several fronts. Overall, contrary to Governor

Wolf’s redistricting criteria, the House Committee’s congressional plan is not

compact and fails to maintain communities of interest.

      40.    For example, the House Committee’s congressional plan has several

irregularly shaped districts that sprawl unnecessarily from central areas in districts

such as CD 5 and CD 6. The House’s congressional plan also splits clear

communities of interest, by, for example, cracking Harrisburg’s AAPI, Black, and

Hispanic communities, as well as cracking Hispanic communities in Wilkes-Barre

and throughout Chester County.

      41.    Even more concerning, however, the Pennsylvania General Assembly



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has now adjourned for the year without even passing any congressional plans. By

doing so, the General Assembly has jeopardized Pennsylvania’s ability to conduct

timely 2022 primary elections.

      42.    Specifically, the Pennsylvania Department of State has previously

explained that it must receive final and legally binding district maps no later than

January 24, 2022, and that, to meet that deadline, Pennsylvania’s political branches

must enact a congressional plan no later than December 2021. See State

Respondents’ Brief in Support of Preliminary Objections to Petitioners’ Petition for

Review at 5, Carter v. Degraffenreid, No. 132 MD 2021 (Sept. 16, 2021).

      43.    Because the General Assembly will not reconvene until January 4,

2022, it is no longer even possible for Pennsylvania’s political branches to enact

such a map by the end of 2021, and the Department of State’s timeline cannot be

met, thus jeopardizing Pennsylvania’s ability to conduct timely elections for 2022.

VI.   Pennsylvania needs a lawful congressional map imminently.
      44.    Voters, candidates, and Pennsylvania’s election administration

apparatus need new districts, and they need them soon.

      45.    Nomination papers for candidates seeking to appear on the ballot for

the 2022 partisan primary election begin circulating February 15, 2022. 25 P.S. §

2868. And the deadline for filing those papers falls just a few weeks later. Id.

      46.    Finalized congressional districts need to be in place as soon as possible,



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well before candidates in those districts must begin to collect signatures on their

nomination papers. Potential congressional candidates cannot make strategic

decisions—including, most importantly, whether to run at all—without knowing

their district boundaries. And voters have a variety of interests in knowing as soon

as possible the districts in which they reside and will vote, and the precise contours

of those districts.

       47.    Pennsylvania’s judiciary is familiar with resolving this kind of impasse.

The last time Pennsylvania’s political branches failed to adopt a congressional

districting plan after a new census, it fell to the judiciary to adopt a congressional

district map for the Commonwealth. Mellow, 607 A.2d 204. Similarly, after the

Pennsylvania Supreme Court invalidated Pennsylvania’s congressional plan three

years ago, the General Assembly was unable to come to agreement with Governor

Wolf on a new plan, and the judiciary stepped in to adopt a remedial map. League

of Women Voters II, 181 A.3d at 1086.

       48.    Now too, the current impasse over Pennsylvania’s congressional

district plan must end, and Pennsylvania’s judiciary is the only actor able to break

the stalemate.




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                              CLAIMS FOR RELIEF

                                      COUNT I

                  Violation of Free and Equal Elections Clause
                              Pa. Const., Art. I, § 5
                       Congressional Malapportionment

      49.    Petitioners reallege and reincorporate by reference all prior paragraphs

of this Petition and the paragraphs in the count below as though fully set forth herein.

      50.    The Pennsylvania Constitution’s Free and Equal Elections Clause

provides: “Elections shall be free and equal; and no power, civil or military, shall at

any time interfere to prevent the free exercise of the right of suffrage.” Pa. Const.,

Art. I, § 5. This clause “should be given the broadest interpretation, one which

governs all aspects of the electoral process, and which provides the people of this

Commonwealth an equally effective power to select the representative of his or her

choice, and bars the dilution of the people’s power to do so.” League of Women

Voters I, 178 A.3d at 814.

      51.    The Free and Equal Elections Clause “establishe[s] a critical ‘leveling’

protection in an effort to establish the uniform right of the people of this

Commonwealth to select their representatives in government.” Id. at 807.

      52.    The “equality” prong of the Free and Equal Elections Clause requires

that voting districts be drawn “by laws which shall arrange all the qualified electors

into suitable districts, and make their votes equally potent in the election; so that



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some shall not have more votes than others, and that all shall have an equal share.”

Id. at 809 (quoting Patterson, 60 Pa. at 75). Thus, any scheme that “has the effect of

impermissibly diluting the potency of an individual’s vote for candidates for elective

office relative to that of other voters will violate the guarantee of ‘free and equal’

elections afforded by Article I, Section 5.” Id.

      53.    Pennsylvania’s current congressional district plan places voters into

districts with significantly disparate populations, causing voters in underpopulated

districts to have more “potent” votes compared to voters, like Petitioners, who live

in districts with comparatively larger populations.

      54.    Any future use of Pennsylvania’s current congressional district plan

would violate Petitioners’ right to an undiluted vote under the Free and Equal

Elections Clause.

                                     COUNT II

       Violation of Article I, Section 2 of the United States Constitution
                      Congressional Malapportionment
      55.    Petitioners reallege and reincorporate by reference all prior paragraphs

of this Petition and the paragraphs in the count below as though fully set forth herein.

      56.    Article 1, Section 2 of the U.S. Constitution provides that members of

the U.S. House of Representatives “shall be apportioned among the several

States . . . according to their respective Numbers.” This provision “intends that when

qualified voters elect members of Congress each vote be given as much weight as


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any other vote,” Wesberry, 376 U.S. at 7, meaning that state congressional districts

must “achieve population equality ‘as nearly as is practicable,’” Karcher, 462 U.S.

at 730 (quoting Wesberry, 376 U.S. at 7-8).

      57.    Article I, Section 2 “permits only the limited population variances

which are unavoidable despite a good-faith effort to achieve absolute equality, or for

which justification is shown.” Karcher, 462 U.S. at 730 (quoting Kirkpatrick v.

Preisler, 394 U.S. 526, 531 (1969)). Any variation from exact population equality

must be narrowly justified. Id. at 731. Given this requirement, when the

Pennsylvania Supreme Court adopted its own congressional plan in 2018, it crafted

a plan in which the population deviation among districts was no more than one

person. Now, the population deviation among Pennsylvania’s congressional districts

is far higher, on the order of tens of thousands of people.

      58.    In light of the significant population shifts that have occurred since the

2010 Census, and the recent publication of the results of the 2020 Census, the current

configuration of Pennsylvania’s congressional districts—which was drawn based on

2010 Census data—is now unconstitutionally malapportioned. No justification can

be offered for the deviation among the congressional districts because any

justification would be based on outdated population data.

      59.    Any future use of Pennsylvania’s current congressional district plan

would violate Petitioners’ constitutional right to cast an equal, undiluted vote.



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                                      COUNT III

                             Violation of 2 U.S.C. § 2c
                          Congressional Malapportionment

      60.      Petitioners reallege and reincorporate by reference all prior paragraphs

of this Petition and the paragraphs in the count below as though fully set forth herein.

      61.      2 U.S.C. § 2c provides that, in a state containing “more than one

Representative,” “there shall be established by law a number of districts equal to the

number of Representatives to which such State is so entitled.”

      62.      Pennsylvania’s current congressional district plan contains 18 districts.

But Pennsylvania is currently allotted only 17 seats in the U.S. House. As a result,

the current congressional district plan violates Section 2c’s requirement that the

number of congressional districts be “equal to the number of Representatives to

which [Pennsylvania] is so entitled.”

      63.      Any future use of Pennsylvania’s current congressional district plan

would violate 2 U.S.C. § 2c and would unlawfully dilute Petitioners’ votes.

                               PRAYER FOR RELIEF

WHEREFORE, Petitioners respectfully request that this Court:

      a. Declare that the current configuration of Pennsylvania’s congressional

            districts violates Article I, Section 5 of the Pennsylvania Constitution;

            Article I, Section 2 of the U.S. Constitution; and 2 U.S.C. § 2c.

      b. Enjoin Respondents, their respective agents, officers, employees, and

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        successors, and all persons acting in concert with each or any of them, from

        implementing, enforcing, or giving any effect to Pennsylvania’s current

        congressional district plan;

     c. Adopt a new congressional district plan that complies with Article I,

        Section 5 of the Pennsylvania Constitution; Article I, Section 2 of the U.S.

        Constitution; and 2 U.S.C. § 2.

     d. Award Petitioners their costs, disbursements, and reasonable attorneys’

        fees; and

     e. Grant such other and further relief as the Court deems just and proper.



Dated: December 17, 2021                        Respectfully submitted,

Lalitha D. Madduri*                             /s/ Edward D. Rogers
Christina A. Ford*                              Edward D. Rogers, No. 69337
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                                                * pro hac vice forthcoming


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                              NOTICE TO PLEAD
TO:                Acting Secretary Veronica Degraffenreid
                   Pennsylvania Department of State
                   Office of the Secretary
                   302 North Office Building, 401 North Street
                   Harrisburg, PA 17120

                   Director Jessica Mathis
                   Pennsylvania Bureau of Election Services and Notaries
                   210 North Office Building, 401 North Street
                   Harrisburg, PA 17120



             You are hereby notified to file a written response to the enclosed

Petition for Review within thirty (30) days from service hereof or a judgment may

be entered against you.



Dated:       December 17, 2021

                                                    /s/ Edward D. Rogers
                                                    Edward D. Rogers, No. 69337
                                                    Ballard Spahr LLP
                                                    1735 Market Street, 51st Floor
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                                                    F: (215) 864-8999




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                           CERTIFICATE OF SERVICE
        I hereby certify that on the date set forth below, I caused the foregoing

Petition for Review to be served upon the following parties and in the manner

indicated below, which service satisfies the requirements of Pa. R.A.P. 1514 and

121:

                     By Certified Mail:

                     Acting Secretary Veronica Degraffenreid
                     Pennsylvania Department of State
                     Office of the Secretary
                     302 North Office Building, 401 North Street
                     Harrisburg, PA 17120

                     Director Jessica Mathis
                     Pennsylvania Bureau of Election Services and Notaries
                     210 North Office Building, 401 North Street
                     Harrisburg, PA 17120

                     By Certified Mail and PACFile:

                     Office of Attorney General
                     Strawberry Square, 16th Floor
                     Harrisburg, PA 17120


Dated:        December 17, 2021

                                                      /s/ Edward D. Rogers
                                                      Edward D. Rogers, No. 69337
                                                      Ballard Spahr LLP
                                                      1735 Market Street, 51st Floor
                                                      Philadelphia, PA 19103
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                     Exhibit E
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          IN THE COMMONWEALTH COURT OF PENNSYLVANIA

Carol Ann Carter, Monica Parrilla,       :    CASES CONSOLIDATED
Rebecca Poyourow, William Tung,          :
Roseanne Milazzo, Burt Siegel,           :
Susan Cassanelli, Lee Cassanelli,        :
Lynn Wachman, Michael Guttman,           :
Maya Fonkeu, Brady Hill, Mary Ellen      :
Balchunis, Tom DeWall,                   :
Stephanie McNulty and Janet Temin,       :
                        Petitioners      :
                                         :
                   v.                    :    No. 464 M.D. 2021
                                         :
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                           Respondents :


Philip T. Gressman; Ron Y. Donagi;       :
Kristopher R. Tapp; Pamela Gorkin;       :
David P. Marsh; James L. Rosenberger;    :
Amy Myers; Eugene Boman;                 :
Gary Gordon; Liz McMahon;                :
Timothy G. Feeman; and Garth Isaak,      :
                         Petitioners     :
                                         :
                    v.                   :    No. 465 M.D. 2021
                                         :
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                            Respondents :
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PER CURIAM                            ORDER


             AND NOW, this 20th day of December, 2021, in consideration of the
petitions for review filed in the above-consolidated actions, which are addressed to
this Court’s original jurisdiction, and consistent with the process established in
Mellow v. Mitchell, 607 A.2d 204 (Pa. 1992), it is hereby ORDERED:
             1.     Any applications to intervene, see Pa. R.A.P. 1531(b), shall be
filed by December 31, 2021. Answers thereto shall be due within four (4) days of
the date the application to intervene is filed.
             2.     Any party to this proceeding who wishes to submit to the Court
for its consideration a proposed 17-district congressional reapportionment plan
consistent with the results of the 2020 Census shall file the proposed plan by
January 28, 2022.
             3.     If the General Assembly and the Governor fail to enact a
congressional reapportionment plan by January 30, 2022, the Court will select a plan
from those plans timely filed by the parties.
             4.     In the event the Court must select a congressional
reapportionment plan, the Court will hold a final hearing beginning on
January 31, 2022, to receive evidence and consider all timely filed proposed plans.
The Court will also consider revisions to the 2022 election schedule/calendar as part
of the hearing. The hearing will begin at 9:30 a.m. in Courtroom 3001 of the
Pennsylvania Judicial Center, Harrisburg, PA. It shall be the responsibility of
Petitioners to secure the services of a court reporter(s) throughout the duration of the
hearing.
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             5.    Consistent with the authority granted to the General Assembly
under the Elections Clause of the United States Constitution, art. I, § 4, cl. 1,
Petitioners are hereby directed to serve immediately a copy of this Order on the
Pennsylvania Senate Majority and Democratic Leaders and on the Pennsylvania
House of Representatives Majority and Democratic Leaders and file proof of service
with this Court.




                                                                        Order Exit
                                                                        12/20/2021
